Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 1 of 81




                  EXHIBIT 2
                 Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 2 of 81



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12
     Attorneys for Plaintiff
13   BLAKE LIVELY
14                                                   COMPLAINT FOR DAMAGES FOR:
15
     BLAKE LIVELY, an individual,                    (1) SEXUAL HARASSMENT (CAL. GOV.
16                                                       CODE, § 12940/TITLE VII OF THE
                        Plaintiff,                       CIVIL RIGHTS ACT OF 1964 (“TITLE
17                                                       VII”));
            v.                                       (2) RETALIATION (CAL. GOV. CODE, §
18                                                       12940/TITLE VII);
     WAYFARER STUDIOS LLC, a California              (3) FAILURE TO INVESTIGATE,
19   Limited Liability Company, JUSTIN BALDONI,           PREVENT, AND/OR REMEDY
     an individual, JAMEY HEATH, an individual,           HARASSMENT (CAL. GOV. CODE, §
20   STEVE SAROWITZ, an individual, MELISSA               12940);
21   NATHAN, an individual, THE AGENCY GROUP         (4) RETALIATION (CAL. LABOR CODE,
     PR LLC, a Delaware Limited Liability Company,        § 1102.5);
22   JENNIFER ABEL, an individual, RWA               (5) AIDING AND ABETTING
     COMMUNICATIONS, LLC, a California Limited            HARASSMENT AND RETALIATION
23   Liability Company, JED WALLACE, an                   (CAL. GOV. CODE, § 12940);
     individual, STREET RELATIONS INC., a            (6) BREACH OF CONTRACT;
24
     California Corporation, and DOES 1-100,         (7) INTENTIONAL INFLICTION OF
25                                                        EMOTIONAL DISTRESS;
                        Defendants.
                                                     (8) NEGLIGENCE;
26                                                   (9) FALSE LIGHT INVASION OF
27
                                                          PRIVACY (CAL. CONST., ART. I, § 1);
                                                     (10) INTERFERENCE WITH
28                                                        PROSPECTIVE ECONOMIC
                                                          ADVANTAGE
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 3 of 81
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 4 of 81
                Case 1:25-cv-00163-DAE                 Document 21-2             Filed 04/25/25         Page 5 of 81



 1   [certain protections] that will be adhered to for the physical and emotional safety of [Ms. Lively], her
 2   employees and all cast and crew moving forward.” Exhibit A ¶ 17. After receiving the document,
 3   Wayfarer responded that “Wayfarer, Sony and Production respectfully acknowledge that [Ms. Lively] has
 4   concerns regarding safety, professionalism and workplace culture. Although our perspective differs in
 5   many aspects, ensuring a safe environment for all is paramount, irrespective of differing viewpoints.
 6   Regarding your outlined requests, we find most of them not only reasonable but also essential for the
 7   benefit of all parties involved.”1
 8                   5.         At the end of the January 4 meeting, having discussed at length the details of
 9   concerns that had been expressed by Ms. Lively and others, the parties agreed to implement and follow
10   the Protections for Return to Production to ensure that the Film could be completed, marketed, and
11   released safely and successfully. And it was. Production of the Film resumed on January 5, and concluded
12   on February 9, 2024. The Film has been a resounding success.
13                   6.         Leading up to and in connection with the release of the Film, during the summer of
14   2024, Ms. Lively and fellow cast members promoted the Film in accordance with the Marketing Plan
15   created and delivered by the Film’s distributor Sony, which is summarized in the “talking points” attached
16   hereto as Exhibit C. Ms. Lively and other cast members were under a contractual obligation to render
17   promotional services in accordance with the Marketing Plan. The Marketing Plan directed the cast to
18   “[f]ocus more on Lily’s strength and resilience as opposed to describing the film as a story about domestic
19   violence” and to “[a]void talking about this film that makes it feel sad or heavy [sic]—it’s a story of hope.”
20   See Exhibit C at 2.2
21                   7.         In the days leading up to the Film’s release, Mr. Baldoni abruptly pivoted away
22   from the Film’s Marketing Plan and the types of publicity activities in which he had previously
23   participated. What the public did not know was that Mr. Baldoni and his team did so in an effort to explain
24   why many of the Film’s cast and crew had unfollowed Mr. Baldoni on social media and were not appearing
25   with him in public. To that end, he and his team used domestic violence “survivor content” to protect
26   his public image, as described in further detail below. See ¶¶ 83-88.
27
     1
       Wayfarer ultimately confirmed its obligation to abide by all of the Protections for Return to Production in a contractual rider
28   executed on January 19, 2024, which is attached hereto as Exhibit B.
     2
       Mr. Baldoni himself launched the Marketing Plan by hosting the first press event in early May 2024 (a month before any
     other cast did any promotion of the film).

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                Case 1:25-cv-00163-DAE                 Document 21-2             Filed 04/25/25         Page 6 of 81



 1                   8.         What the public also did not know was that this was the beginning of a multi-tiered
 2   plan that Mr. Baldoni and his team described as “social manipulation” designed to “destroy” Ms. Lively’s
 3   reputation. That plan was backed by virtually unlimited resources. Wayfarer’s co-founder, co-chairman
 4   and leading financier is multi-billionaire Steve Sarowitz, who divulged at the Film’s New York premiere
 5   on August 6, 2024, that he was prepared to spend $100 million to ruin the lives of Ms. Lively and her
 6   family. With that backing, Mr. Baldoni and his Wayfarer associates embarked on a sophisticated press
 7   and digital plan in retaliation for Ms. Lively exercising her legally-protected right to speak up about
 8   their misconduct on the set, with the additional objective of intimidating her and anyone else from
 9   revealing in public what actually occurred.
10                   9.         On July 31, 2024, following the recommendation of their publicist, Jennifer Abel,
11   Wayfarer, and Mr. Baldoni retained a crisis communications specialist named Melissa Nathan, and her
12   company The Agency Group PR LLC (“TAG”). Ms. Nathan delivered a proposal to Mr. Baldoni, which
13   included “[a] website (to discuss), full reddit, full social account take downs, full social crisis team on
14   hand for anything – engage with audiences in the right way, start threads of theories (discuss) this is the
15   way to be fully 100% protected.” Ms. Nathan also proposed the “creation of social fan engagement to go
16   back and forth with any negative accounts, helping to change [sic] narrative and stay on track.” Per Ms.
17   Nathan, “All of this will be most importantly untraceable.” As Ms. Abel described it, the plan was to
18   engage in “social media mitigation and proactive fan posting to counter the negative” as well as “social
19   manipulation.”3
20                   10.        This plan went well beyond standard crisis PR. What Ms. Nathan proposed
21   included a practice known as “Astroturfing,” which has been defined as “the practice of publishing
22   opinions or comments on the internet, in the media, etc. that appear to come from ordinary members of
23   the public but actually come from a particular company or political group.”4
24                   11.        On August 2, 2024, TAG circulated a “SCENARIO PLANNING” document to Mr.
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26   3
       Ms. Lively obtained the communications set forth in this Complaint through legal process, including a civil subpoena.
     4
       Astroturfing. CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/astroturfing (last visited Dec.
27   16, 2024); see also Astroturfing, WIKIPEDIA, https://en.wikipedia.org/wiki/Astroturfing (last visited Dec. 19, 2024)
     (“Astroturfing is the deceptive practice of hiding the sponsors of an orchestrated message or organization (e.g., political,
28   advertising, religious, or public relations) to make it appear as though it originates from, and is supported by, unsolicited
     grassroots participants. It is a practice intended to give the statements or organizations credibility by withholding information
     about the source's financial backers.”).

                                                                    5
              Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 7 of 81



 1   Baldoni, Mr. Heath, and others, which described preparations and strategy “should [Ms. Lively] and her
 2   team make her grievances public,” (the “Scenario Planning Document”), and is attached hereto as
 3   Exhibit D. To “get ahead of this narrative,” Ms. Nathan’s plan proposed strategies to advance misleading
 4   counternarratives, including pushing Nathan’s narrative that Ms. Lively had “less than favorable
 5   reputation,” proposing to “explore planting stories about the weaponization of feminism…,” and
 6   misleadingly blaming Ms. Lively for production members’ job losses. See Exhibit D at 2-3.
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                  12.      Initially, Mr. Baldoni expressed concerns that TAG’s written plan was
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     insufficiently aggressive to “protect” him. Writing to Mr. Heath and Ms. Abel, he said he was “[n]ot in
23
     love with the document they sent – Not sure I’m feeling the protection I felt on the call” with Ms. Nathan
24
     and her colleagues. In response, Mr. Heath attempted to reassure Mr. Baldoni that they had found the
25
     right people for his campaign. In Mr. Heath’s words, “the most important part of this is how quickly they
26
     can shut things down and place stories in your favor.”
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              Case 1:25-cv-00163-DAE          Document 21-2       Filed 04/25/25      Page 8 of 81



 1                13.      Later that day, Ms. Abel and Ms. Nathan exchanged the following text messages,
 2   expressing that Mr. Baldoni “wants to feel like [Ms. Lively] can be buried.” Ms. Abel and Ms. Nathan
 3   agreed that, of course, they would do just that, but could not say so in writing. “We can’t write it down
 4   to him. We can’t write we will destroy her.” “Imagine if a document saying all the things that he wants
 5   ends up in the wrong hands.”
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              Case 1:25-cv-00163-DAE          Document 21-2       Filed 04/25/25     Page 9 of 81



 1                14.      Ms. Nathan followed this by assuring Ms. Abel: “you know we can bury anyone.
 2   But I can’t write that to him.”
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 8                15.      A few days later, on August 5, 2024, Mr. Baldoni set the narrative for the social
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     media campaign, sending Ms. Abel a screenshot of a thread on X that had accused another female celebrity
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     of bullying women. Mr. Baldoni stated, “this is what we would need.”
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                  16.      Ms. Abel responded that she had just “spoke[n] to Melissa about this… about what
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     we discussed last night for social and digital.” Ms. Abel added, “Focus on reddit, TikTok, IG.” With

27   reassurance that Ms. Lively would be “destroy[ed]” and “buried,” Wayfarer and Mr. Baldoni directed Ms.

28   Nathan and her team to actively engage in their retaliatory “social manipulation” campaign.


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              Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 10 of 81



 1                 17.     In the weeks and months that followed—with the direction and approval of
 2   Wayfarer and Mr. Baldoni—the team engaged in a sophisticated, coordinated, and well-financed
 3   retaliation plan.
 4                 18.     The retaliation campaign relied on more than just publicists and crisis managers
 5   spinning stories. They also retained subcontractors, including a Texas-based contractor named Jed
 6   Wallace, who weaponized a digital army around the country from New York to Los Angeles to create,
 7   seed, and promote content that appeared to be authentic on social media platforms and internet chat
 8   forums. The Baldoni-Wayfarer team would then feed pieces of this manufactured content to unwitting
 9   reporters, making content go viral in order to influence public opinion and thereby cause an organic pile-
10   on. To safeguard against the risk of Ms. Lively ever revealing the truth about Mr. Baldoni, the Baldoni-
11   Wayfarer team created, planted, amplified, and boosted content designed to eviscerate Ms. Lively’s
12   credibility. They engaged in the same techniques to bolster Mr. Baldoni’s credibility and suppress any
13   negative content about him.
14                   19.   On August 10, the day after release of the Film, Ms. Nathan’s team reported that
15   they had “started to see shift on social, due largely to Jed and his team’s efforts to shift the narrative”
16   against Ms. Lively.
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                     20.   That same day, Ms. Nathan noted that as part of this shift, “[t]he majority of socials
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     are so pro Justin and I don’t even agree with half of them [sic] lol.”
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             Case 1:25-cv-00163-DAE           Document 21-2       Filed 04/25/25      Page 11 of 81



 1                21.      Ms. Nathan then bragged to Ms. Abel that Mr. Baldoni “doesn’t realise how lucky
 2   he is right now,” by which they were referring to their successful efforts to shut down stories that would
 3   have revealed how Mr. Baldoni’s behavior including “sexual connotations” on set had made cast and crew
 4   (beyond Ms. Lively) “uncomfortable.”
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                    22.    Less than one week later, they again bragged about how they had shut down stories
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     regarding HR complaints on set. On August 15, 2024, Melissa Nathan remarked that “this went so well .
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     . . It was genius. So okay, we have the four majors standing down on HR complaint.”
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             Case 1:25-cv-00163-DAE          Document 21-2       Filed 04/25/25     Page 12 of 81



 1                 23.     On August 16, Ms. Nathan circulated a Daily Mail article entitled “String of ‘hard
 2   to watch’ videos that have surfaced following ‘tone deaf’ Q&A to promote It Ends With Us could tarnish
 3   36-year-old star’s golden Hollywood image for good,” to which Ms. Abel responded: “Wow. You really
 4   outdid yourself with this piece,” and Ms. Nathan replied: “That’s why you hired me right? I’m the best.”
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               Case 1:25-cv-00163-DAE                Document 21-2            Filed 04/25/25         Page 13 of 81



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                       24.      As their own words reveal, the purpose of this “social manipulation” plan was two-
 6
     fold: it aimed to both (a) conceal the pattern of harassment and other misconduct by Mr. Baldoni, Mr.
 7
     Heath, and Wayfarer, and (b) retaliate against Ms. Lively by battering her image, harming her businesses,
 8
     and causing her and her family severe emotional harm. Millions of people (including many reporters and
 9
     influencers) who saw these planted stories, social media posts, and other online content had no idea they
10
     were unwitting consumers of a crisis PR, astroturfing, and digital retaliation campaign created and funded
11
     by Mr. Baldoni and Wayfarer to hurt Ms. Lively. That is precisely the goal of an astroturfing campaign—
12
     to light the fire and continue to stoke conversations secretly, blurring the line between authentic and
13
     manufactured content, and creating viral public takedowns.
14
                    25.         As laid out in this Complaint, the Baldoni-Wayfarer-led public attack of Ms. Lively
15
     was the intended result of a carefully crafted, coordinated, and resourced retaliatory scheme to silence her,
16
     and others, from speaking out about the hostile environment that Mr. Baldoni and Mr. Heath created. As
17
     such, it was not only unconscionable and a breach of contract, but also illegal under both state and federal
18
     law. Ms. Lively brings this action to hold Wayfarer and its leaders, Mr. Baldoni, Mr. Heath, and Mr.
19
     Sarowitz, accountable for the ongoing5 retaliation threats and harm they have caused Ms. Lively, other
20
     cast and crew and all of their families.
21
                                                 FACTUAL BACKGROUND
22
         A. Justin Baldoni and Jamey Heath of Wayfarer Engage in Inappropriate and Unwelcome
23
            Behavior Toward Ms. Lively and Others on the Set of It Ends with Us.
24
                    26.         Mr. Baldoni launched Wayfarer Studios along with Mr. Sarowitz in 2020. Mr.
25
     Heath serves as Wayfarer’s Chief Executive Officer. Mr. Sarowitz is a leading financier of Wayfarer, and
26
     he, Mr. Heath, and Mr. Baldoni are all close personal friends. Under the Wayfarer banner, Mr. Baldoni
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     5
      Ms. Lively is informed and believes that Mr. Baldoni and his associates have additional astroturfing plans that they have
     prepared and are ready to launch at a moment’s notice.

                                                                  12
               Case 1:25-cv-00163-DAE               Document 21-2           Filed 04/25/25         Page 14 of 81



 1   and Mr. Heath have many platforms, including the Man Enough podcast, which they co-host. Mr. Baldoni
 2   and Mr. Heath have positioned Wayfarer as a male-feminist platform that explores gender roles,
 3
     dismantles toxic masculinity, and creates a safer and judgment-free society for women.
 4
                    27.        Mr. Baldoni serves not only as the Co-Founder and Co-Chairman of the Studio that
 5
     financed and ran production on It Ends With Us, he also served as Director, Executive Producer, and co-
 6

 7   lead Actor playing the role of Ryle Kincaid. As Studio Head and Director, all actors, crew, and staff on

 8   the film—including Ms. Lively—answered to Mr. Baldoni. In his words, he was “the leader” who sat “at

 9   the top of this totem pole . . .” While Sony was the distributor releasing the Film, Wayfarer was
10
     responsible for the production, and Wayfarer was led by Mr. Baldoni and Mr. Heath.
11
                    28.        Production of the Film began in early May 2023, and lasted until it was suspended
12
     in mid-June 2023 due to the Writers Guild of America (“WGA”) strike.
13
                    29.        During that time, Ms. Lively and other cast and crew experienced invasive,
14

15   unwelcome, unprofessional and sexually inappropriate behavior by Mr. Baldoni and Mr. Heath. Because

16   Mr. Baldoni and Mr. Heath held all leadership positions on the production, they answered to no one, and

17   brushed off or ignored the concerns Ms. Lively and others expressed.
18
                  a. Mr. Baldoni ignored well-established industry protocols in filming intimate scenes,
19                   and exploited the lack of controls on set to behave inappropriately.

20                  30.        Wayfarer failed to adhere to guild rules, as well as Ms. Lively’s contract, and

21   standard industry safety protocols with respect to nudity and intimate scenes, which the Screen Actors
22
     Guild and the American Federation of Television and Radio Artists (“SAG-AFTRA”) acknowledges
23
     “place performers in uniquely vulnerable situations.”6 Such safeguards ignored by Wayfarer include:
24
     providing performers with appropriate notice of nudity and simulated sex and ensuring that (i) consent is
25
     given free of pressure or coercion, (ii) signed “nudity riders” are in place, spelling out the parameters of
26

27   nudity or simulated sex scenes, (iii) “safe and secure working conditions that are not detrimental to [a

28
     6
      Quick Guide for Scenes Involving Nudity and Simulated Sex, (Dec. 29, 2024, 6:27 PM), https://www.sagaftra.org/quick-guide-
     scenes-involving-nudity-and-simulated-sex-0.

                                                                 13
               Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 15 of 81



 1   performer’s] health, safety, morals and career,”7 and (iv) the use of “intimacy coordinators” to observe
 2   intimate scenes.
 3
                  31.       Without these protections in place, Mr. Baldoni improvised physical intimacy that
 4
     had not been rehearsed, choreographed, or discussed with Ms. Lively, with no intimacy coordinator
 5
     involved. For instance, Mr. Baldoni discreetly bit and sucked on Ms. Lively’s lower lip during a scene in
 6

 7   which he improvised numerous kisses on each take. Mr. Baldoni insisted on shooting the full scene over

 8   and over again, well beyond what would have been required on an ordinary set, and without advance

 9   notice or consent.
10
                  32.       On another occasion, Mr. Baldoni and Ms. Lively were filming a slow dance scene
11
     for a montage in which no sound was recorded. Mr. Baldoni chose to let the camera roll and have them
12
     perform the scene, but did not act in character as Ryle; instead, he spoke to Ms. Lively out of character as
13
     himself. At one point, he leaned forward and slowly dragged his lips from her ear and down her neck as
14

15   he said, “it smells so good.” None of this was remotely in character, or based on any dialogue in the script,

16   and nothing needed to be said because, again, there was no sound—Mr. Baldoni was caressing Mr. Lively

17   with his mouth in a way that had nothing to do with their roles. When Ms. Lively later objected to this
18
     behavior, Ms. Baldoni’s response was, “I’m not even attracted to you.”
19
                b. Mr. Baldoni inserted improvised gratuitous sexual content and/or scenes involving
20                 nudity into the film (including for an underage character) in highly unsettling ways.
21                33.       After Ms. Lively signed onto the movie based on a draft of the script, Mr. Baldoni,
22
     without Ms. Lively’s knowledge or consent, personally added graphic content, including a scene in which
23
     Ms. Lively was to orgasm on-camera.
24
                  34.       When Ms. Lively objected to these additions, Mr. Baldoni insisted he had added
25
     them because he was making the Film “through the female gaze.” Although he agreed to remove the
26

27   scenes, he made a last-ditch attempt to keep one in which the couple orgasm together on their wedding

28
     7
         Id.

                                                          14
               Case 1:25-cv-00163-DAE                 Document 21-2            Filed 04/25/25         Page 16 of 81



 1   night, which he said was important to him because he and his partner climax simultaneously during
 2   intercourse. Mr. Baldoni then intrusively asked Ms. Lively whether she and her husband climax
 3
     simultaneously during intercourse, which Ms. Lively found invasive and refused to discuss.
 4
                    35.         On the day of shooting the scene in which Ms. Lively’s character gives birth, Mr.
 5
     Baldoni and Mr. Heath suddenly pressured Ms. Lively to simulate full nudity, despite no mention of nudity
 6

 7   for this scene in the script, her contract, or in previous creative discussions. Mr. Baldoni insisted to Ms.

 8   Lively that women give birth naked, and that his wife had “ripped her clothes off” during labor. He

 9   claimed it was “not normal” for women to remain in their hospital gowns while giving birth. Ms. Lively
10
     disagreed, but felt forced into a compromise that she would be naked from below the chest down.8
11
                    36.         When the birth scene was filmed, the set was chaotic, crowded and utterly lacking
12
     in standard industry protections for filming nude scenes—such as choregraphing the scene with an
13
     intimacy coordinator, having a signed nudity rider, or simply turning off the monitors so the scene was
14

15   not broadcast to all crew on set (and on their personal phones and iPad). Mr. Heath and Mr. Baldoni also

16   failed to close the set, allowing non-essential crew to pass through while Ms. Lively was mostly nude with

17   her legs spread wide in stirrups and only a small piece of fabric covering her genitalia. Among the non-
18
     essential persons present that day was Wayfarer co-Chairman Mr. Sarowitz, who flew in for one of his
19
     few set visits. Ms. Lively was not provided with anything to cover herself with between takes until after
20
     she had made multiple requests. Ms. Lively became even more alarmed when Mr. Baldoni introduced his
21
     “best friend” to play the role of the OBGYN, when ordinarily, a small role of this nature would be filled
22

23   by a local actor. Ms. Lively felt that the selection of Mr. Baldoni’s friend for this intimate role, in which

24   the actor’s face and hands were in close proximity to her nearly nude genitalia for a birth scene, was
25   invasive and humiliating.
26

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28   8
      Generally, nudity below the waist in film utilizes a small piece of nude fabric glued around the female actor’s genitalia to
     provide some minimal privacy without disturbing the shot (because that fabric is not able to have visible straps from profile
     camera angles).

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              Case 1:25-cv-00163-DAE           Document 21-2        Filed 04/25/25      Page 17 of 81



 1                37.       To add insult to injury, Mr. Heath approached Ms. Lively and her assistant on set
 2   and started playing a video of a fully nude woman with her legs spread apart. Ms. Lively thought he was
 3
     showing her pornography and stopped him. Mr. Heath explained that the video was his wife giving birth.
 4
     Ms. Lively was alarmed and asked Mr. Heath if his wife knew he was sharing the video, to which he
 5
     replied “She isn’t weird about this stuff,” as if Ms. Lively was weird for not welcoming it. Ms. Lively
 6

 7   and her assistant excused themselves, stunned that Mr. Heath had shown them a nude video.

 8                38.       Mr. Baldoni added a detailed scene to the Film in which the underage version of

 9   Ms. Lively’s character, Lily, loses her virginity. In both the book and the script for the film, there was no
10
     sex scene; instead, the details about this moment were left to the audience’s imagination. But Mr. Baldoni,
11
     added in considerable details, including both dialogue between Young Lily and her boyfriend (Atlas)
12
     about the loss of her virginity, as well as a simulated sex scene in which Mr. Baldoni filmed, and included
13
     in his initial cut of the Film, a close up of Young Lily’s face, accompanied by an audible gasp at the
14

15   moment of penetration. Ms. Lively was informed that when this scene was shot, after Mr. Baldoni called

16   “cut,” he walked over to the actors and said, “I know I’m not supposed to say this, but that was hot,” and,

17   “did you two practice this before?”
18
                c. Mr. Baldoni and Mr. Heath discussed their personal sexual experiences and previous
19                 porn addiction, and tried to pressure Ms. Lively to reveal details about her intimate
                   life.
20
                  39.       During a car ride with Ms. Lively, her assistant and driver, Mr. Baldoni claimed to
21
     Ms. Lively that he had been sexually abused by a former girlfriend (which he has since shared publicly).
22

23   At the end this story, Mr. Baldoni shared that it had caused him to reexamine his past. He then said: “Did

24   I always ask for consent? No. Did I always listen when they said no? No.” Mr. Baldoni claimed this

25   was an example of how we all have things from which we can learn and grow. Ms. Lively was unsettled
26
     by Mr. Baldoni’s suggestion that he had engaged in sexual conduct without consent. When Ms. Lively
27
     exited the car, her driver immediately remarked that he did not want Ms. Lively to be alone with Mr.
28
     Baldoni going forward.

                                                          16
              Case 1:25-cv-00163-DAE          Document 21-2         Filed 04/25/25     Page 18 of 81



 1                40.       On the first day of production, Mr. Baldoni and Mr. Heath described their past
 2   sexual relationships to Ms. Lively, including that one of them used to “hook up” with a woman. Mr.
 3
     Baldoni said that he had decided the woman wasn’t “the one,” so then Mr. Heath had gotten together with
 4
     her. Ms. Lively found this description of passing along a woman to be disrespectful and disturbing.
 5
                  41.       Mr. Baldoni and Mr. Heath often spoke of their “previous pornography addiction.”
 6

 7   Mr. Baldoni would often reference pornography to Ms. Lively. Hoping to shut the subject down, she said

 8   to him privately that she had never seen it. Later, when Mr. Baldoni was once again referencing his

 9   experiences with pornography, he revealed in front of other cast and crew that Ms. Lively had never “seen
10
     porn.” It was an incredible invasion of her privacy to discuss any aspect of her intimate life with the cast
11
     and crew, much less reveal something that she had only told Mr. Baldoni to try to get him to stop talking
12
     about the subject with her.
13
                  42.       Mr. Baldoni engaged in other behaviors that were shocking and emotionally
14

15   distressing. For example, he claimed he could speak to the dead, and on several occasions told her that

16   he had spoken to her dead father. It was off putting and violative for Ms. Baldoni to claim a personal

17   relationship with her recently deceased father. Mr. Baldoni and Mr. Heath were also constantly hugging
18
     and touching cast and crew. When Ms. Lively or others avoided this touching, Mr. Baldoni and Mr. Heath
19
     would retaliate by becoming irritated, cold, and uncollaborative. The result was an unwelcoming and
20
     mercurial environment for Ms. Lively, her employees, and others on set.
21
                d. Mr. Baldoni objectified Ms. Lively and other women by commenting on or criticizing
22
                   their bodies as sex objects.
23
                  43.       Mr. Baldoni often referred to women in the workplace as “sexy.” When they
24
     expressed discomfort, Mr. Baldoni would deflect or try to pass it off, which undermined Ms. Lively and
25
     others’ concerns. For example, on one occasion that Ms. Lively observed, he told a female cast member
26

27   that her leather pants looked “sexy” when she arrived to the set. When she rebuffed his comment because

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               Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 19 of 81



 1   she was uncomfortable, rather than apologizing, he brushed it off with “I can say that because my wife is
 2   here today.” Ms. Lively felt embarrassed witnessing this kind of commentary, as did others.
 3
                  44.       On another day, Ms. Lively wore a low-cut dress to facilitate breast feeding, but
 4
     had it covered up with a coat. When the jacket briefly popped open at one point to reveal the dress, Mr.
 5
     Baldoni commented about how much he liked her outfit, which flustered Ms. Lively. Later that day, Mr.
 6

 7   Baldoni pressured Ms. Lively (who was in her pre-approved wardrobe) to remove her coat in front of the

 8   crew and multiple background actors in a packed bar. He said wanted to see her “onesie” under the coat

 9   because it was zipped low to reveal her lace bra. Consistent with past practice, he said, “I think you look
10
     sexy” in a tone that made her feel ogled and exposed. With other female cast present, she said, “that’s not
11
     what I’m going for.” He bristled and replied, “I’m sorry, hot.” Deeply uncomfortable, Ms. Lively said,
12
     “not that either.” Mr. Baldoni, responded sarcastically, “I guess I missed the HR meeting,” and walked
13
     away. Another woman on the production spoke to Ms. Lively afterward to offer empathy and to share her
14

15   own similar experiences with Mr. Baldoni commenting about her in sexual terms.

16                45.       As result of Mr. Baldoni’s behavior, on May 29, 2023, another cast member lodged

17   a sexual harassment complaint about Mr. Baldoni’s “gross” and “unwanted comment[s]” towards her and
18
     others.
19
                  46.       While, on the one hand, Mr. Baldoni was objectifying Ms. Lively as a sex object,
20
     on the other hand he went out of his way to message criticisms of her age and weight, neither of which
21
     she could change during filming. On the second day of filming, for example, Mr. Baldoni made the rest
22

23   of the cast and crew wait for hours while he cried in Ms. Lively’s dressing room, claiming social media

24   commentators were saying that Ms. Lively looked old and unattractive based on paparazzi photos from
25   the set. She tried to reassure him that she should look authentic in the scenes depicted in the photos, which
26
     were just after her character had been abused by her fictional husband, rather than “hot”—Mr. Baldoni,
27
     however, appeared focused on Ms. Lively’s sexual appeal above all else. His lengthy outburst caused a
28
     delay in shooting, forcing an emotional scene to be shot haphazardly.

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               Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25        Page 20 of 81



 1                 47.        To make matters worse, when Ms. Lively tried to have a meeting with Mr. Heath
 2   and the other producers to discuss Mr. Baldoni’s unprofessional behavior described above, that meeting
 3
     turned into yet another violation. Rather than an ordinary meeting time and place, Mr. Heath arrived
 4
     unannounced at Ms. Lively’s hair and makeup trailer while she was topless and having body makeup
 5
     removed by makeup artists. Ms. Lively told Mr. Heath that she was almost done and they could meet
 6

 7   once she was clothed. Mr. Heath, however, insisted that if she didn’t allow him into her trailer to speak

 8   to him at that moment, then there would be no meeting with the other producers. Ms. Lively reluctantly

 9   agreed, but asked that Mr. Heath keep his back turned. A few minutes into the conversation, Ms. Lively
10
     noticed that Mr. Heath was staring directly at her while she was topless. When she called him out, Mr.
11
     Heath brushed it off as a habit of wanting to look at a person while speaking to them. Ms. Lively and her
12
     hair and makeup artists were all deeply disturbed by this interaction on just the second day of filming.
13
                   48.        Throughout filming, Mr. Baldoni and Mr. Heath invaded Ms. Lively’s privacy by
14

15   entering her makeup trailer uninvited while she was undressed, including when she was breastfeeding her

16   infant child. Ms. Lively often had to work while breastfeeding, which she felt comfortable doing so long

17   as she was given the time and space to cover herself. She did this frequently, because she was not given
18
     breaks to feed her baby,9 but Ms. Lively did not expect or consent to anyone entering her private spaces
19
     while topless, exposed, and vulnerable with her newborn, or during body makeup application or removal.
20
     Mr. Baldoni and Mr. Heath both showed a shocking lack of boundaries by invading her personal space
21
     when she was undressed and vulnerable.
22

23                 49.        Mr. Baldoni also routinely degraded Ms. Lively by finding back channel ways of

24   criticizing her body and weight. A few weeks before filming began and less than four months after Ms.
25   Lively had given birth to her fourth child, Ms. Lively was humiliated to learn that Mr. Baldoni secretly
26
     called her fitness trainer, without her knowledge or permission, and implied that he wanted her to lose
27

28   9
       Ms. Lively was not given proper lactation breaks by Wayfarer during filming, which sometimes stretched into six hours
     without a break. When filming finally broke, Ms. Lively would have to run to her trailer to breastfeed. The lack of
     accommodation for her need to express milk caused her to develop painful mastitis.

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               Case 1:25-cv-00163-DAE                Document 21-2           Filed 04/25/25         Page 21 of 81



 1   weight in two weeks. Mr. Baldoni told the trainer that he had asked because he was concerned about
 2   having to pick Ms. Lively up in a scene for the movie, but there was no such scene.10
 3
                    50.        When Ms. Lively caught strep throat, Mr. Baldoni offered as a “gift” to connect her
 4
     with an expert he had on retainer to help her with probiotics and to combat the sickness. When Ms. Lively
 5
     went to fill out the privacy forms, she saw the expert was not what Mr. Baldoni had represented her to be,
 6

 7   but was instead a weight-loss specialist. Ms. Lively felt, once again, that Mr. Baldoni was shaming her

 8   for her body and weight.

 9                  51.        Mr. Baldoni and Mr. Heath failed to implement COVID protocols when there was
10
     a COVID outbreak on set. Ms. Lively was told by another producer that because Wayfarer did not have
11
     insurance coverage for COVID, Mr. Baldoni and Mr. Heath deliberately withheld from Ms. Lively that
12
     she had been exposed to COVID. Both Ms. Lively and her infant child contracted COVID from the
13
     outbreak.
14

15        B. Ms. Lively And Others Lodge Grievances Regarding the Conduct of Mr. Baldoni and Mr.
             Heath, Which Wayfarer Declines to Investigate.
16
                    52.        As the studio producing the Film, Wayfarer was the employer of all the cast and
17
     crew and was thus responsible for ensuring workplace safety on set.
18

19                  53.        However, Wayfarer failed to provide Ms. Lively with even rudimentary

20   employment protections, such an employee handbook, sexual harassment policy, information or any

21   training on sexual harassment, discrimination or respectful workplace expectations.
22
                    54.        Wayfarer also failed to provide Ms. Lively information about the process and
23
     procedure for filing human resources (“HR”) complaints.
24
                    55.        As the producer and owner of the Film, Wayfarer was legally obligated to address
25
     HR-related concerns or complaints. To Ms. Lively’s knowledge, however, Wayfarer lacked any process
26

27

28
     10
        In later text messages sent to his team, Mr. Baldoni referred to Ms. Lively’s trainer as “a damn spy” and sought to plant
     stories to portray his concerns as being motivated by his lower back pain.

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             Case 1:25-cv-00163-DAE           Document 21-2        Filed 04/25/25     Page 22 of 81



 1   for responding to complaints about its leadership, Mr. Baldoni and Mr. Heath, who plainly were not going
 2   to investigate themselves.
 3
                   56.     On May 26, 2023, Ms. Lively told a representative of Sony that she wanted to file
 4
     an HR complaint about Mr. Baldoni’s and Mr. Heath’s misconduct. The Sony representative told Ms.
 5
     Lively that Sony, as the distributor of the film, was not empowered to control Mr. Baldoni or Mr. Heath’s
 6

 7   behavior on set, and that such concerns must be raised with Wayfarer, the studio responsible for the

 8   production.

 9                 57.     Wayfarer, Mr. Baldoni, and Mr. Heath received or were aware of a number of HR
10
     grievances regarding their conduct. For example, on the first day of filming, while attempting to hug Ms.
11
     Lively’s employee, Mr. Heath said “I don’t even know if we’re allowed to do this. It’s day one and we
12
     have an HR report already.”
13
                   58.     Additionally, early in the production, another actress made a complaint about Mr.
14

15   Baldoni’s comments on her appearance. Mr. Baldoni expressly acknowledged her concerns in writing,

16   stating he would “adjust accordingly.” Yet on June 8, 2023, that actress informed Ms. Lively that “outside

17   of anything in a scene, I actually cannot talk to Justin at all.” Mr. Baldoni later expressed suspicion
18
     regarding Ms. Lively’s friendship with this actress, as if they were colluding against him.
19
                   59.     As described above, Ms. Lively and others attempted to raise concerns to Mr.
20
     Baldoni and Mr. Heath regarding certain of the conduct described above during filming, but they were not
21
     addressed given the futility of asking Mr. Baldoni and Mr. Heath to address their own behavior.
22

23                 60.     After unsuccessfully attempting to raise concerns with Sony, Ms. Lively expressly

24   told Mr. Baldoni and Mr. Heath that there were serious HR problems on set. Mr. Heath responded that
25   they knew, implying that someone had mentioned to them that Ms. Lively had raised concerns. In
26
     response, Mr. Heath told Ms. Lively that he thought she had wanted to see the nude video of his wife.
27
                   61.     In the same conversation, when Ms. Lively expressed her upset Mr. Heath and Mr.
28
     Baldoni had hidden the fact that she had been exposed to a COVID outbreak on set from which she and

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              Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25       Page 23 of 81



 1   her infant contracted COVID. Instead of acknowledging responsibility and committing to safety moving
 2   forward, they expressed upset over production days missed and resulting costs.
 3
                  62.       Despite receiving multiple, detailed reports by Ms. Lively and others about Mr.
 4
     Baldoni and Mr. Heath’s misconduct, Wayfarer failed to investigate those reports or to otherwise institute
 5
     protections for the cast. This is so even though the incidents discussed above, among others, did not take
 6

 7   place in isolation and many if not all were witnessed by others.

 8                63.       By these and other behaviors, Mr. Baldoni, Mr. Heath and Wayfarer engaged in

 9   harassing conduct and failed their obligations to investigate complaints of workplace harassment, to
10
     prevent inappropriate and harassing behaviors on set, and to provide avenues for cast and crew members
11
     to safely raise concerns to neutral parties so that they could be investigated and appropriately addressed.
12
        C. The Parties Negotiate A Contract Rider regarding Mr. Baldoni’s and Mr. Heath’s Conduct
13         on the Set of It Ends with Us.
14                64.       On May 2, 2023, the Writers Guild of America (“WGA”), made up of two
15
     American labor unions representing more than 16,000 writers in film, television, radio, and online media,
16
     went on strike in connection with a labor dispute with the Alliance of Motion Picture and Television
17
     Producers.
18

19                65.       The Film temporarily halted production in June 2023 as a result of WGA picketing.

20   On June 15, 2023, Wayfarer and Mr. Baldoni announced the continued halted production of the Film due

21   to the ongoing WGA strike and the lost days experienced from picketing.
22
                  66.       While the WGA strike was underway, on July 14, 2023, the American actor’s union
23
     known as SAG-AFTRA, a labor union that represents about 160,000 people in the entertainment industry,
24
     including actors, recording artists, radio personalities and other media professionals, began to strike due
25
     to a labor dispute with the Alliance of Motion Picture and Television Producers.
26

27                67.       The WGA strike ended on September 27, 2023, and the SAG-AFTRA strike ended

28   on November 9, 2023.


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              Case 1:25-cv-00163-DAE          Document 21-2          Filed 04/25/25    Page 24 of 81



 1                68.       Before returning to production, Ms. Lively attempted to address and resolve the
 2   problems on set and requested that Wayfarer agree to address the conditions described above.
 3
                  69.       On November 9, 2023, Ms. Lively’s attorneys provided Wayfarer’s attorney with
 4
     a document entitled “Protections for Return to Production,” attached hereto as Exhibit A.
 5
                  70.       In conveying the Protections for Return to Production document, Ms. Lively
 6

 7   requested that Wayfarer agree to implement a plan that would enable everyone to return to work and

 8   complete the Film with adequate protections to ensure a safe set moving forward.

 9                71.       On November 11, 2023, counsel for Wayfarer indicated that “Wayfarer, Sony and
10
     Production respectfully acknowledge that your client has concerns regarding safety, professionalism and
11
     workplace culture. Although our perspective differs in many aspects, ensuring a safe environment for all
12
     involved is paramount, irrespective of differing viewpoints. Regarding your outlined requests, we find
13
     most of them not only reasonable but also essential for the benefit of all parties involved.”
14

15                72.       On November 15, 2023, Wayfarer, through It Ends With US Movie, LLC, agreed

16   to the terms in a contractual rider, executed on January 19, 2024, and attached hereto as Exhibit B.

17                73.       Among the contract rider’s provisions:
18
                  (a)       The first provision required that “An intimacy coordinator must be present at all
19
     times when [Ms. Lively] is on set.”
20
                  (b)       The second provision required that, “With respect to Artist, any and all rehearsal,
21
     filming, reviewing of video playback or dailies and/or any other interaction with any scene involving
22

23   simulated sex, nudity and/or partial nudity shall be restricted to those persons with essential business

24   reasons for being present (”Essential Personnel“) as approved by [Ms. Lively] and Todd Black as further
25   described in the nudity rider attached as Schedule I [] (”Nudity Rider”).”
26
                  (c)       The third provision required that “There is to be no spontaneous improvising of any
27
     scenes involving intimate/sexual physical touching, simulated sex, or nudity with respect to [Ms.
28
     Lively]. Scenes involving [Ms. Lively] that involves [sic] kissing, depictions of sexual intercourse, or any

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              Case 1:25-cv-00163-DAE           Document 21-2         Filed 04/25/25      Page 25 of 81



 1   other intimate/sexual physical touching must be contained in the screenplay (i.e., the most up to date draft
 2   approved by [Ms. Lively] in writing), choreographed in advance in the presence of the intimacy
 3
     coordinator, and may only proceed as choreographed with the consent of all participants in advance.”
 4
                  (d)       The fourth provision required that “Physical touching and/or comments on [Ms.
 5
     Lively]’s physical appearance must only be done/made in connection with the character and scene work,
 6

 7   not as to [Ms. Lively] personally. Except as written into the screenplay or as strictly required in connection

 8   with make-up or costume preparation, there is to be no physical touching (including hugging) of [Ms.

 9   Lively], her on-set personnel and/or her employees.”
10
                  (e)       The fifth provision required that “There are to be no discussions with [Ms. Lively]
11
     of personal experiences with sex or nudity, including as it relates to conduct with spouses or others.”
12
                  (f)       The sixth provision required that “No one will enter, attempt to enter, interrupt,
13
     pressure, or request entrance to [Ms. Lively]’s trailer while she is in a state of undress for any reason.”
14

15                (g)       The seventh provision required that “There shall be no rehearsal or filming of [Ms.

16   Lively] (including [Ms. Lively]’s approved body double) of any nudity, partial nudity, and/or simulated

17   sex except as expressly permitted in accordance with the Nudity Rider. Any such footage of [Ms. Lively]
18
     (or [Ms. Lively]’s body double) previously shot without the Nudity Rider in place may not be used without
19
     [Ms. Lively]’s and her legal representatives’ prior, written consent.”
20
                  (h)       The tenth provision required that “There shall be no retaliation of any kind against
21
     [Ms. Lively] for raising concerns about the conduct described in this letter or for these
22

23   requirements. Any changes in attitude, sarcasm, marginalization or other negative behavior, either on

24   set or otherwise, including during publicity and promotional work, as a result of these requests is
25   retaliatory and unacceptable, and will be met with immediate action.”
26
                  (i)       The twelfth provision required that “Wayfarer will engage an additional,
27
     experienced A-level producer, approved by [Ms. Lively] (Todd Black is hereby approved) (the ”Approved
28
     Producer), to actively supervise the production, including monitoring the safety of the cast and crew,

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              Case 1:25-cv-00163-DAE            Document 21-2      Filed 04/25/25     Page 26 of 81



 1   ensuring compliance with the schedule and overseeing logistics, problem solving and creative issues
 2   provided that Company shall have the right to approve the agreement with the Approved Producer.”
 3
                  (j)       The fifteenth provision required that “Any rehearsal or shooting involving [Ms.
 4
     Lively], or any other performer depicting the character of “Lily,” that involves nudity (including partial
 5
     nudity) or simulated sex must be conducted strictly in accordance with the Nudity Rider and must adhere
 6

 7   to the approved script.”

 8                (k)       The sixteenth provision provided that “Any and all day players that participate in

 9   any way in scenes with [Ms. Lively] involving nudity, partial nudity and/or simulated sex must be engaged
10
     through customary industry talent agencies and not through personal connections of the director and/or
11
     producer.”
12
                  (l)       The seventeenth provision required that “At [Ms. Lively]’s election, an all-hands,
13
     in-person meeting before production resumes will include the director, the existing producers, the Sony
14

15   representative, the Approved Producer, [Ms. Lively] and [Ms. Lively]’s designated representatives to

16   confirm and approve a plan for implementation of the above that will be adhered to for the physical and

17   emotional safety of [Ms. Lively], her employees and all cast and crew moving forward.
18
                  74.       The “all-hands, in-person” meeting provided for in the contract rider occurred on
19
     January 4, 2024, before production resumed, as described above. The meeting was attended by Mr.
20
     Baldoni, Mr. Heath, producer Alex Saks, producer Todd Black, and Sony’s Ange Gianetti, as well as Ms.
21
     Lively and her husband, who attended at Ms. Lively’s request as another designated representative (as
22

23   provided for in the contract) given the subject matter of the meeting.

24                75.       At the January 4, 2024 meeting, the parties discussed a list of twenty examples of
25   the behaviors that gave rise to the contract rider from her contemporaneous notes. These behaviors are
26
     listed in full earlier in this Complaint at Paragraph 3.
27
                  76.       Neither Mr. Baldoni nor Mr. Heath denied the veracity of Ms. Lively’s examples.
28



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                 Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25        Page 27 of 81



 1                    77.        Ms. Lively requested that Mr. Baldoni and Mr. Heath agree that such behaviors
 2   would no longer take place, as memorialized in the language of the Rider, and Mr. Baldoni and Mr. Heath
 3
     agreed.
 4
            D. Production Concluded and Ms. Lively and Other Cast and Crew Promoted The Film
 5             According to the Marketing Plan.
 6
                      78.        Production of the Film resumed on January 5, 2024, and concluded February 9,
 7
     2024.
 8
                      79.        In connection with the Film’s public release, Ms. Lively and the rest of the cast
 9
     actively promoted the Film in accordance with the Marketing Plan for the Film, attached hereto as Exhibit
10
     C. Wayfarer had embraced, and on information and belief, had formally approved of, this Marketing Plan.
11

12                    80.        The Marketing Plan, and related talking points, expressly required Ms. Lively, as

13   well as all other cast and crew engaged in promotional activities, to “[f]ocus more on [her character’s]

14   strength and resilience as opposed to describing the film as a story about domestic violence” and to
15
     “[a]void talking about this film [sic] that makes it feel sad or heavy – it’s a story of hope.”
16
                      81.        As detailed above, Ms. Lively and fellow cast members promoted the Film in
17
     accordance with the talking points and Marketing Plan during appearances on red carpets, interviews,
18
     press junkets, fan events, and pop-up experiences leading up to the Film’s release.
19

20                    82.        Mr. Baldoni publicly embraced the Marketing Plan. In early May 2024, Mr.

21   Baldoni appeared at a floral-themed trailer launch event, which included him personally making flower
22   bouquets for influencers, a photo opportunity, and film-branded latte art. As late as July 25, 2024, Mr.
23
     Baldoni appeared at a pop-up of Lily Bloom’s flower shop in Century City, California, where he held a
24
     long stem rose microphone and playfully gave tours of the shop to influencers. In a TikTok interview,
25
     posted that day, Mr. Baldoni excitedly walks through the pop-up and states that he will be giving tours
26

27   “all day every day” until August 9.11

28
     11
          See @tashapolis, TikTok, https://www.tiktok.com /@tashapolis/video/7395697627217693998, (July 25, 2024)..

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              Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 28 of 81



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                  83.      In advance of the release of the Film, nearly all cast members chose to appear in
15
     public separately from Mr. Baldoni given his on-set behavior. Mr. Baldoni became concerned that the
16
     public would discover that “something is much bigger under the surface,” on information and belief,
17
     alluding to the complaints lodged by Ms. Lively and others.
18
                  84.      At that point, Mr. Baldoni pivoted away from the Film’s Marketing Plan to explain
19
     his absence from the rest of the cast. He shifted his focus away from a message of female triumph, to
20
     instead capitalize on female trauma. After the Film’s premiere, Mr. Baldoni changed his Instagram
21
     profile, cancelled lighthearted social media posts, and instructed his team to look for survivors reactions
22
     and support—all in an effort to quickly shift his own public narrative to focus solely on survivors and
23
     domestic violence organizations.
24
                  85.      Ms. Abel cautioned Mr. Baldoni that this shift might be “too drastic too soon.”
25
     Still, Mr. Baldoni insisted on a “Tik Tok strategy” and that his promotional activities for the Film should
26
     seek to amplify what he described as “survivor content.”
27

28



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             Case 1:25-cv-00163-DAE           Document 21-2       Filed 04/25/25      Page 29 of 81



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                  86.      The team followed Mr. Baldoni’s instruction. For her part, Ms. Abel concluded,
 8
     “[i]t doesn’t feel performative now that you’ve done major substantial press on the topic.” On August 11,
 9
     2024, Ms. Abel, laid out a posting timeline to Mr. Baldoni and the team, stating, “[t]heater surprise and
10
     then I think survivor content first thing tomorrow am[,] which then will be helpful for news cycle.”
11
                  87.      By repositioning Mr. Baldoni’s marketing of the Film, on information and belief,
12
     Mr. Baldoni hoped to create the false impression that he had chosen not to appear alongside other cast
13
     members. Mr. Baldoni directed his team to share on his public Instagram feed the private messages he
14
     had received from survivors sharing their stories of domestic violence with him. Mr. Baldoni’s team
15
     talked him out of this idea, writing that they “do not recommend using private DMs as content.”
16

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24                88.      Mr. Baldoni went so far as proposing to share a video of a woman’s “birth

25   moment,” but his team talked him out of it, warning that it might be “perceived as ‘weird’” and was “too

26   intimate.” Still, Mr. Baldoni’s team was more than willing to deploy survivors’ stories, reactions, and

27   images to protect Mr. Baldoni’s image.

28



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               Case 1:25-cv-00163-DAE             Document 21-2          Filed 04/25/25       Page 30 of 81



 1        E. Mr. Baldoni and His Team Formulate a Retaliatory Plan.
 2                  89.       Wayfarer knew the details of Ms. Lively’s and others’ concerns, the HR complaints
 3   raised regarding Mr. Baldoni’s and Mr. Heath’s behavior, Ms. Lively’s contractual rider, and the January
 4   4, 2024 meeting to discuss their behavior. In addition, Wayfarer’s PR team knew about the claims by Ms.
 5   Lively and others, as well as the Protections Rider, as Wayfarer sent the materials to them in November
 6   2023.
 7                  90.       As early as May 2024, Mr. Baldoni told his team that they needed a plan to get
 8
     ahead of the claims against him, in the event they were to go public. Specifically, Mr. Baldoni wrote:
 9
     “Just want you guys to have a plan. Plans make me feel more at ease.”
10
                    91.       On May 17, 2024, Mr. Baldoni texted his publicist, Jennifer Abel, that, Ms. Lively’s
11

12   husband had blocked him on social media, stating, “We should have a plan for IF she does the same when

13   [the] movie comes out.”12

14                  92.       In June 2024, a month after Mr. Baldoni’s first promotional event for the Film, Ms.
15
     Lively and others in the cast fulfilled their first publicity obligation for the Film without Mr. Baldoni.
16
     They did not publicly discuss the misconduct that had occurred on set. Nor did they ever suggest to
17
     Wayfarer or Mr. Baldoni that they intended to discuss their concerns publicly. Yet, on June 20, 2024, Ms.
18
     Abel texted Mr. Heath her concern, “we can’t have fans starting to guess why JB is left out of this stuff.”
19

20                  93.       Likewise, Mr. Baldoni strategized with his publicist, Ms. Abel, about various ways

21   in which they might cover up or explain away his on-set misconduct. On June 24, 2024, for example, Mr.

22   Baldoni proposed an “offensive move showing [his] neuro divergence and some of the attributes that come
23
     with it,” to explain that “anything that [he had] been ‘accused of’ [was] social awkwardness and impulsive
24
     speech . . . .”13
25

26   12
       In fact, both Ms. Lively and her husband had unfollowed Mr. Baldoni’s social media accounts ten months before.
     13
       Consistent with this plan, Mr. Baldoni has recently been making the press rounds discussing his ADHD. See Kimberlee
27   Speakman, Justin Baldoni Reveals He Was Diagnosed with ADHD at 40 After Struggling Through School: ‘I Felt Broken,’
     People (Dec. 5, 2024, 8:19 AM) https://people.com/justin-baldoni-reveals-he-was-diagnosed-with-adhd-at-XX-XXXXXXX;
28   Christy Pina, Justin Baldoni Says He Had “Near Breakdown” While Filming ‘It Ends With Us’: “There Was So Much Pain,”
     The Hollywood Reporter (Dec. 4, 2024, 12:53 PM), https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-
     near-breakdown-it-ends-with-us-sexual-trauma-adhd-1236077524/; Carly Silva, Justin Baldoni Reveals New Clinical

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               Case 1:25-cv-00163-DAE               Document 21-2           Filed 04/25/25        Page 31 of 81



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 7                  94.        The same day, Ms. Abel reviewed again the agreed upon list of Protections that
 8   formed the basis for the contractual rider.
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                    95.        On July 24, 2024, Ms. Abel emailed Mr. Heath, and others, requesting “the legal
10
     letter that was sent to [Ms. Lively] and her team,” stating, “per our conversation, we will go through point
11
     by point and draft context surrounding each situation. We can then flag what we are missing that would
12

13   be helpful to arm us in the case we need to refute any of the claims….”

14                  96.        On July 26, 2024, Mr. Baldoni sent Ms. Abel a Variety article about Francis Ford

15   Coppola’s inappropriate behavior on set during production of his movie, Megalopolis, including his
16
     alleged kissing of cast and crew, as described by “unnamed sources.” In conveying the article, Mr.
17
     Baldoni stated: “This is the shit that I’m sure they want to do – unnamed sources etc [sic] . . .”14
18
                    97.        On July 29, 2024, Mr. Baldoni and Ms. Abel discussed a proposal to get ahead of
19
     any potential publicity regarding Ms. Lively’s HR complaints against him with a “social and digital”
20

21   combat plan.

22       F. Wayfarer Engages Melissa Nathan and The Agency Group on Behalf of Mr. Baldoni to
            Launch a Retaliation Campaign against Ms. Lively.
23
                    98.        As the Film’s release date of August 9, 2024, drew closer, Mr. Baldoni, Mr. Heath,
24
     Wayfarer, Ms. Abel, and others continued to pursue a strategy on behalf of Mr. Baldoni and Wayfarer to
25

26

27   Diagnosis: ‘I Haven’t Spoken About This Publicly,’ Parade (Dec. 4, 2024) https://parade.com/news/justin-baldoni-clinical-
     diagnosis-adhd-interview-dec-2024.
28   14
        See Brent Lang & Tatiana Siegal, Video of Francis Ford Coppola Kissing ‘Megalopolis’ Extras Surfaces as Crew Members
     Detail     Unprofessional     Behavior    on    Set    (EXCLUSIVE),       Variety     (Jul.   26,   2024,     9:47     AM)
     https://variety.com/2024/film/news/megalopolis-set-video-francis-ford-coppola-kissing-extras-1236082653/.

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               Case 1:25-cv-00163-DAE              Document 21-2           Filed 04/25/25        Page 32 of 81



 1   “arm” themselves against the possibility that Ms. Lively or others might go public with the claims against
 2   Mr. Baldoni or Wayfarer.
 3                  99.       This plan took shape with Wayfarer’s retention (on behalf of Wayfarer and Mr.
 4   Baldoni) of Melissa Nathan, which occurred on or around July 31, 2024.
 5
                    100.      Melissa Nathan is a crisis manager. On or about June 20, 2024, Ms. Nathan
 6
     launched The Agency Group PR (TAG).
 7
                    101.      TAG markets itself as a “team of crisis specialists and communications experts”
 8

 9   that “redefines the rules of reputation management.”15 TAG’s website states, “At TAG, it’s more than

10   just creating a powerful narrative – it’s knowing how to navigate that narrative towards continued success

11   and a lasting legacy.”16
12
                    102.      TAG’s website states that it “offers comprehensive communications services for
13
     individuals, businesses and corporations looking to invest in reputation management and the growth of
14
     their unique public profiles. TAG specializes in crisis communications, having managed some of the
15
     biggest public-facing crises to date, and utilizes that fast-paced, reputation-first mindset with all of its day-
16

17   to-day clients, which span a variety of industries, including entertainment, media, business and sports.”17

18   TAG’s services include messaging and narrative development, media relations, crisis communications

19   and management, and digital and social strategy, among others.18
20
                    103.      By July 31, 2024, Wayfarer had started to put together a timeline of events to be
21
     shared with Ms. Nathan and TAG.
22
                    104.      According to TAG’s own planning document, the purpose of Ms. Nathan’s
23
     engagement was to help Mr. Baldoni “get ahead of the narrative” and mitigate bad press that might arise
24

25   from Ms. Lively’s and others’ HR complaints becoming public by engaging in techniques, such as a

26

27
     15
        The Agency Group PR, The Agency Group PR (TAG), https://tagpr.com/about (last visited Dec. 19, 2024).
28   16
        Id.
     17
        The Agency Group PR, Services, https://tagpr.com/services (last visited Dec. 19, 2024).
     18
        Id.

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                 Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25       Page 33 of 81



 1   “‘rapid response’ communication system” and “catalog[ing] third party advocates willing to provide a
 2   potential quote or engage with reporters on [Mr. Baldoni’s] and [Mr. Heath’s] behalf to mitigate negative
 3
     narratives from a source outside of Wayfarer.” See Exhibit D at 1–2.
 4
                      105.       As set forth above, on August 5, 2024, Mr. Baldoni sent Ms. Abel a screenshot of
 5
     a thread on X regarding another female public figure’s alleged “history of bullying many women.” Mr.
 6

 7   Baldoni stated, “this is what we would need.”19

 8                    106.       The next day, even though Ms. Nathan and TAG had already begun performing

 9   work on behalf of Wayfarer and Mr. Baldoni, Ms. Nathan texted a text chain with Ms. Abel and Mr. Heath
10
     providing pricing quotes ranging from $75,000 to $175,000 for TAG’s crisis mitigation services.
11
                      107.       Ms. Nathan explained the quotes as follows:
12
                      (a)        “Quote one: $175k - this will be for a 3-4 month period and includes: website (to
13
     discuss) full reddit, full social account take downs, full social crisis team on hand for anything – engage
14

15   with audiences in the right way, start threads of theories (to discuss) this is the way to be fully 100%

16   protected.”

17                    (b)        “Quote two $25k per month - min 3 months as it needs to seed same as above - this
18
     will be for creation of social fan engagement to go back and forth with any negative accounts, helping
19
     to change narrative and stay on track.” Ms. Nathan stated, “All of this will be most importantly
20
     untraceable. There is a lot more to both of these quotes but, [sic] easier to discuss via phone in terms of
21
     capabilities and what I have personally experienced in and out of crisis scenarios.”
22

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     19
          @selovelenaa, X, (Aug. 4, 2024, 10:07 AM) https://x.com/selovelenaa/status/1820099207996575827.

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               Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25        Page 34 of 81



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19                 108.       The Hollywood Reporter announced the retention of Ms. Nathan and TAG on
20
     August 13, 2024. That report stated, in part: “The news comes days after sleuths flooded TikTok with
21
     speculation about an alleged rift between Baldoni and his cast and crew, including co-star and producer
22
     Blake Lively, as well as Hoover. Chatter spiked when fans noticed Baldoni’s absence from joint press
23

24
     events and the lack of group photos of Lively and Baldoni together at the New York premiere Aug. 6.

25   Some also pointed out that neither Lively or Hoover, nor the rest of the cast, follow Baldoni on Instagram

26   (though he follows them).”20
27

28   20
       Carly Thomas & Pamela McClintock, Justin Baldoni Hires Crisis PR Veteran Amid Alleged ‘It Ends With Us’ Rift, The
     Hollywood Reporter (Aug. 13, 2024, 5:27 PM), https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-hires-
     pr-crisis-manager-melissa-nathan-it-ends-with-us-1235973715/; see also Anthony D’Alessandro, ‘It Ends With Us’ : Justin

                                                               33
               Case 1:25-cv-00163-DAE               Document 21-2           Filed 04/25/25         Page 35 of 81



 1           F. Mr. Baldoni, Mr. Heath, and Wayfarer Perpetrate A Retaliation Scheme Against Ms.
                Lively.
 2
                    109.       Ms. Abel, Ms. Nathan, and others employed or engaged by TAG perpetrated a
 3

 4   retaliation scheme against Ms. Lively, in collusion with Mr. Baldoni, Mr. Heath, and Wayfarer. This

 5   scheme was what TAG described as a “social manipulation” plan relying on direct and constant media

 6   engagement, the seeding of content on traditional and social media platforms, the boosting of content
 7
     (sometimes the very content that TAG and its affiliates had seeded), the suppressing of negative content
 8
     about Mr. Baldoni, and amplifying of negative content about Ms. Lively.
 9
                    110.       On August 1, 2024, before any of the cast sat down for interviews at the film’s
10
     press junkets, Ms. Abel stated to Mr. Heath and Wayfarer personnel that she had held an in-person meeting
11

12   with a contributor to People, Fox News, In Touch, and US Weekly. Ms. Abel explained that during the

13   meeting, she had “fully briefed” the contributor “of the situation” with Ms. Lively. Ms. Abel stated that
14   the contributor was “armed and ready to take this story of Blake weaponizing feminism,” and assured
15
     Mr. Heath that the contributor “will do anything for us.”
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24   Baldoni Hires Crisis PR Vet Melissa Nathan as Rumor Mill Swirls About Filmmaker/ Star’s Rift with Blake Lively, DEADLINE
     (Aug. 13, 2024, 8:22 PM), https://deadline.com/2024/08/it-ends-with-us-justin-baldoni-melissa-nathan-blake-lively-
25   1236039853/; see also Lauren Tousignant, What the Hell is Going On?, JEZEBEL (Aug. 14, 2024, 10:32 AM),
     https://www.jezebel.com/what-the-hell-is-going-on (“I don’t know what to make of this. I’m sure Nathan is great at her job,
26   but it feels wild to me to hire Depp’s former crisis PR when you’re maybe in some hot water over a movie you made where
     you play a domestic abuser.”) (emphasis in original); Kristyn Burtt, Justin Baldoni Made a Curious PR Move Amid His Drama
27   With Blake Lively & the ‘It Ends With Us’ Cast, Y!entertainment (Aug. 14, 2024, 7:50 AM PDT),
     https://www.yahoo.com/entertainment/justin-baldoni-made-curious-pr-145000919.html; KenJac, Justin Baldoni Hired Johnny
28   Depp’s PR Crisis Manager. A Week Later, The Whole World Turned On Blake Lively, Barstool Sports (Aug. 22, 2024, 10:10
     PM PDT), https://www.barstoolsports.com/blog/3522813/justin-baldoni-hired-johnny-depps-pr-crisis-manager.-a-week-later-
     the-whole-world-turned-on-blake-lively.

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                 Case 1:25-cv-00163-DAE         Document 21-2         Filed 04/25/25      Page 36 of 81



 1                  111.     On or around August 2, 2024, Ms. Abel connected the contributor with Ms. Nathan.
 2   Subsequently, Ms. Nathan engaged directly with media sources on behalf of Mr. Baldoni and Wayfarer
 3
     regarding Mr. Baldoni, Ms. Lively, and the Film.
 4
                    112.     On August 2, 2024, Ms. Nathan, Mr. Baldoni, Ms. Abel, and others had a phone
 5
     call to discuss the services that Ms. Nathan and TAG would provide for Mr. Baldoni and Wayfarer.
 6

 7                  113.     Subsequently, on August 2, 2024, TAG circulated a document to Mr. Baldoni and

 8   others entitled “SCENARIO PLANNING – IT ENDS WITH US,” as described above. See supra at ¶ 11;

 9   see also Exhibit D.
10
                    114.     Of note, the Scenario Planning document states, “there are several potential
11
     scenarios at play here which we should be prepared for, should [Ms. Lively] and her team make her
12
     grievances public ....” See Exhibit D at 1.
13
                    115.     The Scenario Planning Document provides TAG’s “recommendation” “to get
14

15   ahead of this narrative . . .” Id. This included suggesting misleading messaging that: (1) “[p]roduction

16   members lost their jobs due to [Ms. Lively’s] takeover and insisted upon involvement”; (2) Ms. Lively

17   “involved her husband to create an [i]mbalance of power between her and [Mr. Baldoni]”; (3) Ms. Lively
18
     has a “less than favorable reputation in the industry”; (4) Ms. Lively had “a clear, likely motive. . . to bully
19
     her way into buying the rights for It Starts With Us,” the sequel to the Film currently owned by Wayfarer.
20
     Id. at 2.
21
                    116.     The Scenario Planning document states that TAG could “also explore planting
22

23   stories about the weaponization of feminism and how people in BL’s circle like Taylor Swift, have been

24   accused of utilizing these tactics to ‘bully’ into getting what they want.” Id. at 4.
25                  117.     Upon review of the Scenario Planning document, Mr. Baldoni informed Mr. Heath
26
     that he was “[n]ot in love with the document they sent – Not sure I’m feeling the protection I felt on the
27
     call.”
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              Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 37 of 81



 1                118.     Mr. Heath responded, “That’s the most important part of this is how quickly they
 2   can shut things down and place stories in your favor.”
 3
                  119.     Later the same day, Ms. Abel conveyed to Ms. Nathan that Mr. Baldoni was
 4
     questioning whether the plan was aggressive enough, texting that “[Mr. Baldoni] want[ed] to feel like
 5
     [Ms. Lively could] be buried.” Ms. Nathan responds: “Of course—but you know when we send over the
 6

 7   documents we can’t send over the work [sic] will or could do because that could get us in a lot of trouble.

 8   We can’t write it down to him. We can’t write we will destroy her . . . Imagine if a document saying all

 9   the things that he wants ends up in the wrong hands.”
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              Case 1:25-cv-00163-DAE           Document 21-2        Filed 04/25/25      Page 38 of 81



 1                120.      On August 4, Ms. Abel texted Ms. Nathan, stating, “I’m having reckless thoughts
 2   of wanting to plant pieces this week of how horrible Blake is to work with. . . Just to get ahead of it . . .
 3
     She’s putting us through hell.” (Ms. Lively was, in fact, doing nothing other than engaging in the approved
 4
     Marketing Plan for the Film at that time.) Ms. Nathan responded, “Same,” and indicated that she had
 5
     already spoken to the Daily Mail.
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             Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25    Page 39 of 81



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                  121.     Ms. Abel and Ms. Nathan viewed and referred to their shared work on behalf of
 6
     Mr. Baldoni and Wayfarer as a “social combat plan.”
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                  122.     The same day, Ms. Abel corresponded with TAG personnel regarding her
17
     discussion with Ms. Nathan regarding “social manipulation,” which she described as distinct from “social
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19   media mitigation” and “proactive fan posting to counter the narrative.”

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               Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25        Page 40 of 81



 1                  123.      When media sources made direct inquiries regarding potentially unflattering stories
 2   about Mr. Baldoni specifically, Ms. Nathan, Ms. Abel, and their teams worked to suppress those stories.
 3
                    124.      For example, on August 7, 2024, TAG indicated their intent to leverage “social” to
 4
     “quiet/kill” media coverage regarding public suspicions regarding Mr. Baldoni’s disconnect from the
 5
     Film’s cast.
 6

 7                  125.      On August 9, 2024, Ms. Nathan sent Ms. Abel two links to articles—one from the

 8   Hollywood Reporter entitled “Did Blake Lively, Justin Baldoni Have a Rift Over ‘It Ends With Us’?

 9   Sleuthing TikTokers Think So,” and one from the Daily Mail entitled “Disturbing TRUTH behind why
10
     Blake Lively and her It Ends With Us stars are feuding with Justin Baldoni.”21
11
                    126.      The Daily Mail article reports on allegations that “Justin Baldoni was ‘chauvinistic’
12
     and ‘borderline abusive’ on the set of It Ends with Us,” and discusses this and other claims with respect to
13
     the Film and its cast in detail.22
14

15                  127.      Ms. Abel stated to Ms. Nathan, “I can tell you’ve done a lot of work here,” and

16   continued, “Nothing about being unsafe. Fat comments. Sexual.” She concluded, “Thank fucking

17   god.”
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     21
        Carly Thomas, Did Blake Lively, Justin Baldoni Have a Rift Over ‘It Ends With Us’? Sleuthing TikTokers Think So, The
27   Hollywood Reporter (Aug. 8, 2024, 6:09 PM) https://www.hollywoodreporter.com/movies/movie-news/blake-lively-justin-
     baldoni-it-ends-with-us-drama-what-we-know-1235969708/; James Vituscka & Lillian Gissen, Disturbing TRUTH behind why
28   Blake Lively and her It Ends With Us stars are feuding with Justin Baldoni, Dailymail.com (Aug. 9, 2024, 12:52 EDT),
     https://www.dailymail.co.uk/tvshowbiz/article-13727789/it-ends-blake-lively-justin-baldonifeud.html.
     22
        Vituscka & Gissen, supra n. 21.

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               Case 1:25-cv-00163-DAE              Document 21-2           Filed 04/25/25        Page 41 of 81



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                    128.      On August 8, 2024, Ms. Abel stated that the situation had moved “from just
10
     monitoring and scenario planning . . . to [Ms. Nathan] and me having to have an off the record conversation
11
     with outlets such as the today show.” Ms. Abel noted that because of Ms. Nathan’s relationships, those
12

13   outlets were being “kept at bay.”

14                  129.      On August 9, 2024, Ms. Nathan indicated to Ms. Abel that she was on the phone
15   with her sister, Sara Nathan, a journalist at the New York Post and contributor at Page Six, and remarked
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     that Mr. Baldoni’s religion should be taken “out” from media coverage. She went on to state, “And mostly
17
     The [sic] misogynistic.”
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                    130.      Later the same day, Ms. Nathan texted Ms. Abel a link of an article on Page Six by
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25   Sara Nathan entitled “Truth behind ‘It Ends With Us’ feud rumors: Justin Baldoni made Blake Lively

26   ‘uncomfortable,’ sources say,” stating, “I knew she would keep uncomfortable.”23
27

28   23
       Sara Nathan, Truth behind ‘It Ends With Us’ feud rumors: Justin Baldoni made Blake Lively ‘uncomfortable,’ sources say,
     PageSix, (Aug. 9, 2024, 4:50 PM EDT) https://pagesix.com/2024/08/09/entertainment/justin-baldoni-made-blake-lively-
     uncomfortable-sources/.

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             Case 1:25-cv-00163-DAE           Document 21-2        Filed 04/25/25       Page 42 of 81



 1                131.     On August 9, 2024, Ms. Abel and Ms. Nathan discussed suppressing two stories
 2   that report Ms. Lively was “uncomfortable” on the set.
 3
                  132.     Ms. Nathan texted, “ALL Press is so overwhelming. Weve [sic] confused people.
 4
     So much mixed messaging. It’s actually really funny if you think about it . . .”
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              Case 1:25-cv-00163-DAE          Document 21-2         Filed 04/25/25     Page 43 of 81



 1                133.      Ms. Nathan further texted Ms. Abel that the “worst is over” and that Mr. Baldoni
 2   likely would not be “cancelled,” corroborating that the nature of the ongoing campaign was designed to
 3   harm Ms. Lively and conceal Mr. Baldoni’s conduct on set.
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 9                134.      The following day, Ms. Abel stated that “The narrative online is so freaking good

10   and fans are still sticking up for Justin and there literally has been no pickup of those two articles which

11   is actually shocking to me. But I see this as a total success, as does Justin. You did such amazing
12
     work.” Ms. Nathan responded, “So did you.”
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              Case 1:25-cv-00163-DAE          Document 21-2       Filed 04/25/25     Page 44 of 81



 1                135.      Ms. Nathan texted later that same day, “The majority of socials are so pro Justin
 2   and I don’t even agree with half of them lol[.]”
 3

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                  136.      She continued, “I mean, that was just a lot of work just talking everyone off the
 9
     fucking ledge for those two pieces[.]” Ms. Nathan followed up again, texting, ““He doesn’t realise how
10

11   lucky he is right now[.] [W]e need to press on him just how fucking lucky[.] The whispering in the ear[,]

12   the sexual connotations like Jesus fucking Christ[.] Other members feeling uncomfortable watching

13   it[,] I mean there is just so much.”
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              Case 1:25-cv-00163-DAE           Document 21-2        Filed 04/25/25      Page 45 of 81



 1                137.      The following day, Ms. Abel confirmed to Mr. Baldoni that there had been
 2   “Nothing. Very very little pickup” and that fans “believe the issue of the ‘feud’ is because she took control
 3
     of the movie.”
 4
                  138.      Earlier, on August 9, 2024, Ms. Nathan had shared with Ms. Abel that she had been
 5
     informed “we are crushing it on Reddit.”
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11                139.      Ms. Nathan’s reference to “Jed,” is a reference to Mr. Jed Wallace, an independent
12
     contractor based in Austin, Texas, who was retained by TAG to perform social media services on behalf
13
     of Wayfarer and Mr. Baldoni in connection with TAG’s engagement. The quotation appears to be a
14
     reference to efforts by Mr. Wallace to seed and influence online forums on Reddit attacking Ms. Lively
15

16   and defending Mr. Baldoni.

17                140.      The same day, an employee of TAG texted a link to a salacious story about Ms.

18   Lively’s family and noted, “[t]he tides are swirling around Ryan now FYI.” Along these same lines, the
19
     team had previously shared an upsetting TikTok video which called for Blake “to divorce Ryan,” writing,
20
     “[y]ou guys will love this.” TAG then described this post as “[v]ery helpful.”
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Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 46 of 81
              Case 1:25-cv-00163-DAE           Document 21-2        Filed 04/25/25     Page 47 of 81



 1   followed her life closely. Despite her grace in not speaking ill of him, I sensed from the start that
 2   something was deeply wrong. Justin weaponizes therapeutic language, presenting himself as thoughtful
 3
     and supportive, yet his actions reveal a very different reality. He portrays himself as an ally to women
 4
     and the vulnerable, but it’s all a façade—he manipulates the vernacular of care to mask his true intentions.
 5
     In reality, none of the proceeds from the show benefited the individuals he profiled. He even had the
 6

 7   audacity to depict her hometown, a vibrant and affluent community, as a small, impoverished town. His

 8   portrayal was not just inaccurate but insulting. Once the show aired, Justin took his profits and vanished,

 9   leaving nothing but a sense of exploitation in his wake. His behavior was not just tacky and gross—it was
10
     a betrayal of the very people he claimed to uplift.”
11
                  146.      In response to the article, Ms. Abel stated, “I’m assuming this is not true in the
12
     slightest . . . Either way, we’ve flagged to Jed and his team for more serious action on the social side.”
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                  147.      Similarly, on August 13, 2024, the team discussed ways to use the “digital team”
19
     to “amplify []” positive stories about Mr. Baldoni.
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                  148.      Likewise, on August 18, 2024, an employee of TAG suggested that they “chat with
21

22   Jed” in response to other allegations made online regarding Mr. Baldoni.

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                 Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25       Page 48 of 81



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 8                    149.      On any occasion, any member of Wayfarer or the social “manipulation” team could

 9   text the link to a positive story about Mr. Baldoni, or a negative story about Ms. Lively, and ask that

10   someone “boost” the story to the public, or “engag[e] in the comments” to fuel the desired narrative.
11                    150.      On August 18, 2024, Mr. Baldoni circulated a TikTok video in which the poster
12
     criticized Ms. Lively for not speaking about domestic violence in press interviews. A member of Ms.
13
     Nathan’s team responded that she would “let digital know.”24
14
                      151.      During the same period of time, when media sources inquired about HR complaints
15

16   that were made on the set of the Film, Ms. Nathan, Ms. Abel, and their teams worked to suppress coverage

17   of these HR complaints.

18                    152.      Further, on or around August 14, 2024, media outlets directly inquired about HR
19
     complaints made on set because they were “being told there were at least three HR complaints filed against
20
     Justin Baldoni on the set of ‘It Ends With Us’” and inquired “if the complaints were investigated and what
21
     the results were.”
22
                      153.      By this time, individuals at TAG, Ms. Nathan, and Ms. Abel were aware of the
23

24   existence of HR complaints, and sought clarity as to the specific HR complaints at issue in order to better

25   counter them in the press.
26

27

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     24
          See @thickjewishgirl, TikTok, https://www.tiktok.com/@thickjewishgirl/video/7404186295993453870, (Aug. 17, 2024).

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              Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25        Page 49 of 81



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 7                 154.       Approximately one minute later, Ms. Abel asserted the “need to position” the
 8   claims as “claims that are already out there about the kiss and the weight comment,” referencing earlier
 9
     public reporting by TMZ on Mr. Baldoni’s “lingering” kiss with Ms. Lively and Mr. Baldoni’s comments
10
     regarding Ms. Lively’s weight on set.25
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                    155.      On or around the same date, Ms. Nathan directly engaged with several media
18
     platforms, discussing the issue of the HR complaints made against Mr. Baldoni while on the set of the
19

20
     Film.

21                  156.      On August 15, Ms. Nathan texted Ms. Abel that “DM hounded me re[:] HR

22   complaints.” She stated that “DM” is not running any content about it, continuing “Jen, this went so well
23   I am fucking dying[.] I have to call you later in a bit and tell you how this went. It was genius. So okay,
24
     we have the four majors standing down on HR complaint [sic]. I think we are fine on that bit.”
25
                    157.      During the same period of time, Ms. Nathan and her team at TAG planted or
26
     otherwise were involved in generating or influencing the content publicly put forth on social media,
27

28
     25
       TMZ, Blake Lively, Justin Baldoni She Felt Kissing Scene Lingered Too Long … Feels He Fat-Shamed Her (Aug. 14, 2024,
     7:55 AM), https://www.tmz.com/2024/08/14/blake-lively-justin-baldoni-fat-shamed-it-ends-with-us/.

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               Case 1:25-cv-00163-DAE                Document 21-2           Filed 04/25/25         Page 50 of 81



 1   including Reddit and TikTok, as well as online media sources.
 2                   158.      For example, on August 13, 2024, various text messages were exchanged between
 3
     Ms. Abel and the journalist Sara Nathan (who, as explained above, is Melissa Nathan’s sister).26 These
 4
     messages consisted of drafts of a story outlining Ms. Lively’s role in making final cuts to the Film.
 5
                     159.      After Sara Nathan circulated draft language related to Ms. Lively’s involvement in
 6

 7   the different cuts of the film, Ms. Abel sent Sara Nathan revisions to the draft, which Sara Nathan offered

 8   to “amend.”

 9                   160.      On the same day, an article authored by Sara Nathan, titled Blake Lively approved
10
     final cut of ‘It Ends with Us’ amid feud with co-star director Justin Baldoni, was published in Page Six,
11
     owned by the New York Post.27
12
                     161.      The article addressed, among other topics, Ms. Lively’s role in approving the final
13
     cut of the Film but emphasizes how Ms. Lively “contribut[ed] to almost every aspect of [the Film];” that
14

15   her husband “wrote one of the most important scenes in the movie;” and that she was “begged” to remove

16   one of her song choices from the Film, despite Mr. Baldoni’s ownership of the “rights to the book via his

17   production company, Wayfarer.”
18
                     162.      The language contained in the article is almost a verbatim copy of the language
19
     exchanged between Sara Nathan and Ms. Abel via text and reflects multiple of Ms. Abel’s revisions to
20
     Sara Nathan’s original proposed draft.
21
                     163.      TAG publicly shared this article on one or more social media platforms, including
22

23   Reddit, prompting various negative comments in relation to Ms. Lively and her husband and the narrative

24   that Ms. Lively “steamrolled” or “bulldozed” Mr. Baldoni and the Film “for her own personal gain.”28
25

26   26
        Sara Nathan, PageSix, https://pagesix.com/author/sara-nathan/ (last visited Dec. 11, 2024)
     27
        Sara Nathan, Blake Lively approved final cut of ‘It Ends with Us’ amid feud with co-star director Justin Baldoni, PageSix
27   (Aug. 13, 2024, 4:20 PM), https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-
     amid-feud/.
28   28
       Somethingfunnynice,                                                Reddit                                             post
     https://www.reddit.com/r/Fauxmoi/comments/1erm7jz/exclusive_blake_lively_approved_final_cut_of_it/?rdt=54494#:~:text
     =Blake%20Lively%20approved%20the%20final,end%20result%2C%20multiple%20sources%20 (2024); Fred Steggars, Page

                                                                 49
                Case 1:25-cv-00163-DAE              Document 21-2           Filed 04/25/25         Page 51 of 81



 1                   164.      The very same day, Ms. Nathan sent an article from the Daily Mail entitled “Is
 2   Blake Lively set to be CANCELLED? String of ‘hard to watch’ videos that have surfaced following ‘tone
 3
     deaf’ Q&A to promote It Ends With Us could tarnish 36-year-old star’s golden Hollywood image for
 4
     good.”29
 5
                     165.      Ms. Abel stated, “You really outdid yourself with this piece,” and Ms. Nathan
 6

 7   responded, “That’s why you hired me right? I’m the best.”

 8                   166.      Following the August 2024 launch of Ms. Lively’s hair care line, Blake Brown,

 9   which she spent seven years building, the Instagram account of the brand was flooded by harassing and
10
     derogatory comments, including many posted by user accounts that had no followers and no prior posts
11
     (suggesting inauthenticity), and which did not relate to the brand’s products. To take just one example,
12
     one comment posted on the Blake Brown account (by a user that, as of December 19, 2024, shows user
13
     metrics indicating 0 posts, 0 followers, and 0 following), commented: “How about you stop paying the
14

15   media to trash and smear Justin that would be a good start you awful human being.” Another user (also

16   with 0 posts, 0 followers, and 0 following) posted: “We want Justin’s cut of the movie!! He actually care

17   about DV.”30
18
                     167.      Mr. Baldoni and Mr. Sarowitz, along with Mr. Heath, not only encouraged efforts
19
     to target Ms. Lively and her family, but they went as far as to provide input and ideas on ways to negatively
20
     influence the narrative against Ms. Lively and her family.
21

22
     Six comment, https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-amid-feud/
23
     (Aug. 13, 2024) (“Sounds like Lively used her power even though he had bought the rights and was the director. And then she
     pushed him out. It’s obvious all the info comes from her camp.”); IFNOTMEWHO, Page Six comment,
24   https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-amid-feud/ (Aug. 13, 2024)
     (“Kinda sounding like a mean girl behind all the makeup and fake smiles. No longer a fan.”).
25   29
        See Alanah Kholsa & Jo Tweedy, Is Blake Lively set to be CANCELLED? String of ‘hard to watch’ videos that have surfaced
     following ‘tone deaf’ Q&A to promote It Ends With Us could tarnish 36-year-old star’s golden Hollywood image for good,
26   Dailymail.com (Aug. 16, 2024, 7:17), https://www.dailymail.co.uk/femail/article-13749783/Blake-Lively-cancelled-
     interview-Ends-film.html.
27   30
           See      @judy__bees,      Blake     Brown     Beauty    Instagram     comment,        https://www.instagram.com/p/C-
     oLDRqNyOl/?igsh=MWJkbGwxbGplOXo3dQ%3D%3D, (Aug. 13, 2024), (“How about you stop paying the media to trash
28   and smear Justin that would be a good start you awful human being.”); @ronn.iejac, Blake Brown Beauty Instagram comment,
     https://www.instagram.com/p/C-oLDRqNyOl/?igsh=MWJkbGwxbGplOXo3dQ%3D%3D, (Aug. 13, 2024) (“We want
     Justin’s cut of the movie!! He actually care about DV.”).

                                                                 50
              Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 52 of 81



 1                 168.     For instance, on August 9, 2024—the Film’s release date—after sharing certain
 2   negative articles about himself with Ms. Abel, Mr. Baldoni stated, “there’s no way we can just let this
 3
     go.”
 4
                   169.     Additionally, on August 15, 2024, Mr. Baldoni texted Ms. Nathan and Ms. Abel,
 5
     stating that his business partner, Mr. Sarowitz, suggested “flipping the narrative” arising from unnamed
 6

 7   sources who had made false claims about Mr. Reynolds’ involvement in the script of the Film, and

 8   suggested ways to manipulate those rumors to make Mr. Reynolds appear to be anti-feminist. There was

 9   no truth to these claims.
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22                170.      Ms. Nathan assured Mr. Baldoni that “[t]his is an easy flip,” before indicating that

23   she was already working on a story for Variety that would achieve this goal.

24                171.      As of August 16, 2024, Ms. Nathan was continuing to confer with additional
25
     reporters to release stories that would cast Ms. Lively and/or Mr. Reynolds in a negative light.
26
                  172.      Meanwhile, Ms. Lively neither publicly commented nor directed any of her
27
     representatives to comment to or engage with the print media, social media or otherwise about the hostile
28
     work environment Mr. Baldoni, Mr. Heath and Wayfarer created. Indeed, throughout the time period

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              Case 1:25-cv-00163-DAE              Document 21-2         Filed 04/25/25        Page 53 of 81



 1   discussed herein, Ms. Lively did not provide her publicist with details about the hostile work environment
 2   that she, alongside the other cast members and crew, had experienced.
 3
                   173.      Moreover, Ms. Lively expressly instructed her publicist not to engage with press
 4
     inquiries, including ones regarding the on-set behavior of Mr. Baldoni, Mr. Heath, or Wayfarer.
 5
                   174.       Experiencing the very sudden tidal wave of the increasingly negative public
 6

 7   attention building around her, however, Ms. Lively began to suspect that the extraordinarily rapid shift in

 8   public sentiment and press coverage that began immediately after the rest of the cast and crew attended

 9   the world premiere was likely orchestrated by the men about whom she had raised HR complaints.
10
             G. Mr. Baldoni Retaliated Because HR Complaints Regarding His Behavior Threatened His
11              Feminist Brand.

12                 175.      On information and belief, Mr. Baldoni was desperate to suppress any suggestion

13   that he engaged inappropriate conduct, much less sexually harassing conduct, because it would entirely
14   undermine his carefully curated public image as a feminist ally.
15
                   176.      In 2017, Justin Baldoni presented a Ted Talk entitled, “Why I’m Done Trying to
16
     be ‘Man Enough.’” Mr. Baldoni challenged men to “be man enough to stand up to other men when [they]
17
     hear ‘locker room talk,’ when [they] hear stories of sexual harassment.”31 Mr. Baldoni asked listeners,
18

19   “will you actually stand up and do something so that one day we don’t have to live in a world where

20   a woman has to risk everything and come forward to say the words “me too?”32

21

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28   31
        Pangambam S, Justin Baldoni: Why I’m Done Trying to Be “Man Enough” (Transcript), The Singju Post (Jan. 16, 2018,
     4:45), https://singjupost.com/justin-baldoni-why-im-done-trying-to-be-man-enough-transcript/?singlepage=1.
     32
        Id. (emphasis added).

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                Case 1:25-cv-00163-DAE            Document 21-2          Filed 04/25/25       Page 54 of 81



 1                 177.       During the TED Talk, Mr. Baldoni displayed numerous screenshots of media
 2   coverage of himself, from various sources, as examples of his decision to use his “social platform as a
 3
     kind of this Trojan horse wherein [he] could create a daily practice of authenticity and vulnerability.” Mr.
 4
     Baldoni then claimed “[t]he response has been incredible. It’s been affirming, it’s been heartwarming. I
 5
     get tons of love and press and positive messages daily.”33
 6

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                   178.       Around the same time of that TED Talk in 2017, Mr. Baldoni announced the launch
16

17   of a male talk show through his media company, Wayfarer Entertainment, called Man Enough. Through

18   that show, Mr. Baldoni sought to have “public conversations on camera that [he] had never seen men

19   have.”34
20
                   179.       In one episode of his show Man Enough, Mr. Baldoni hosted a round table with
21
     “really strong men,” including Mr. Heath and others, in reaction to the #MeToo movement—to
22
     “collectively learn from each other, from experts, and hear firsthand from women and try to figure out
23
     how we can be better allies in our responses and in our actions.”35 In the episode, Mr. Baldoni questions
24

25

26   33
          Justin Baldoni, Why I’m Done Trying to be “Man Enough,” TED, at 8:10–8:28 (Nov. 2017),
     https://www.ted.com/talks/justin baldoni why i m done trying to be man enough?subtitle=en.
27   34
        Justin Baldoni, Man Enough: Undefining My Masculinity, HARPERONE (2021) at 8; see also Man Enough, IMDB,
     https://www.imdb.com/title/tt7754654/ (last visited Dec. 15, 2024).
28   35
        Jamie Primeau, Justin Baldoni Knows The Most Important Way For Men To Be Better #MeToo Allies Is To Listen, Bustle
     (July 24, 2018), https://www.bustle.com/p/justin-baldonis-man-enough-features-a-candid-metoo-conversation-about-how-
     men-can-be-better-allies-9857238.

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               Case 1:25-cv-00163-DAE                 Document 21-2            Filed 04/25/25          Page 55 of 81



 1   the group, “Who at this table has seen something and didn’t say anything . . . I mean objectification,
 2   harassment, and then not said anything?”36
 3
                    180.        In 2021, the Man Enough franchise added a podcast, also produced by Wayfarer
 4
     Studios.37 The Man Enough podcast has featured episodes entitled “Strength in Unity: Men Supporting
 5
     Women In Leadership,” “From Misogyny’s Victim To Male Privilege . . .,” and “Modern Dating: Consent,
 6

 7   Boundaries And Respect.”38

 8                   181.       Mr. Baldoni stated in his 2017 TED Talk, men “are the problem” they created the

 9   “glass ceiling”;39 and if they want “to be part of the solution, then words are no longer enough.”40 By Mr.
10
     Baldoni’s account, he became a “feminist fighting for gender equality . . . so quickly that [he] hadn’t even
11
     realized that’s what [he] was or was trying to do.”41
12
                    182.        In Mr. Baldoni’s own words, his “activism” “starts in the mirror, with an audience
13
     of one.”42 Mr. Baldoni has stated that he “feel[s] a deep responsibility” to “tear down the walls” of “power
14

15   and privilege”43 and “believe[s] the world needs men to show up, not in big ways, but in hundreds and

16   thousands of little ways” to “create a better, more equitable, just world.”44

17                  183.        Over the past approximately seven years, and as relevant to this Complaint, Mr.
18
     Baldoni has made the following statements:
19
                    (a)         “Let’s just shut up and finally listen to the women in our lives.”45
20

21

22   36
        Man Enough, YouTube, at 12:35 – 12:45 (July 26, 2018), https://www.youtube.com/watch?v=i21xmCbd8iw&t=1070.
     37
       Justin Baldoni, Liz Plank, and Jamey Heath, The Man Enough Podcase Premiere, YouTube (June 21, 2021),
23
     https://www.youtube.com/watch?v=EFEEm9DEy6w#:~:text=New%20episode%20of%20The%20%23ManEnoughPodcast%
     20every%20Monday%2C,Premiere%20episode%20with%20Karamo%20Brown%20out%20now.
24   38
       Episode Pages, The Man Enough Podcast https://manenough.com/podcast/ (last visited Dec. 15, 2024).
     39
        See Justin Baldoni, supra n. 33 at 15:45–15:51. Regarding the “glass ceiling,” in a recent interview, Mr. Baldoni stated that
25   “[d]irecting is a very lonely job” because he was “at the top of the totem pole”—all without acknowledging that Ms. Lively’s
     cut of It Ends With Us was released, not his.                  See How to Fail With Elizabeth Day, Dec. 3, 2024,
26   https://podcasts.apple.com/gb/podcast/how-to-fail-with-elizabeth-day/id1407451189.
     40
        See Justin Baldoni, supra n.33 at 15:52–15:55.
27   41
        Justin Baldoni, supra n.34 at 8.
     42
        Id. at 24.
28   43
        Id. at 1.
     44
        Id. at 24.
     45
        Id. at 11.

                                                                   54
               Case 1:25-cv-00163-DAE                Document 21-2           Filed 04/25/25         Page 56 of 81



 1                  (b)        “[M]en are going to have to start doing now is recognizing when they [made women
 2   uncomfortable] and didn’t realize it. I think that’s when the other side of the ‘Me Too’ movement is ‘I’m
 3
     Sorry.’”46
 4
                    (c)        “Growing up, how many times did I hear ‘bros before hoes?’. . . [H]ow demeaning,
 5
     how sexist . . . We’ve built this system—the opposite of accountability—and now it’s time to figure out
 6

 7   how, as men, we can break that system, and it starts with showing what a real man is. A real man is

 8   someone that says, ‘Hey man, we’re still friends, but that’s not cool.’”47

 9                  (d)        “Imagine . . . being sexually assaulted, finally coming forward about this traumatic
10
     thing that has happened to you . . . and having people acting like you were to blame.”48
11
                    (e)        “[I]t’s important for us men to realize how crucial a role bystanders can play in
12
     stopping and preventing assault and harassment, how we must be a part of the movement and call for
13
     respect and equality for women, act upon that call to action, and continue to perpetuate positive behaviors
14

15   among ourselves and our communities.”49

16                  (f)        “Are you confident enough to listen to the women in your life . . . And will you be

17   man enough to stand up to other men when you hear 'locker room talk', when you hear stories of sexual
18
     harassment?”50
19
                    (g)        “All of us have a situation, or a pattern that we need to end the cycle of.”51
20

21

22

23
     46
        Laurel Pinson, Jane the Virgin’ Star Justin Baldoni Wants to End Toxic Masculinity: ’The Glass Ceiling Exists Because
24   Men Put It There, GLAMOUR (Dec. 4, 2017), https://www.glamour.com/story/jane-the-virgin-star-justin-baldoni-wants-to-
     end-toxic-masculinity.
25   47
        Id.
     48
        Justin Baldoni, Boys Will Be Human: A Get-Real Gut-Check Guide to Becoming the Strongest, Kindest, Bravest Person You
26   Can Be, HARPERCOLLINS (2022) at 242–43.
     49
       Leah Fessler, Actor Justin Baldoni has crucial advice for men who’ve offended women, but still want to be feminists, Quartz
27   (Oct. 30, 2018), https://qz.com/work/1408444/hww4-justin-baldoni.
     50
        Dressember, A TEDTALK REVIEW OF JUSTIN BALDONI’S ‘WHY I’m DONE TRYING TO BE MAN ENOUGH’, (2017)
28   https://www.dressember.org/blog/justinbaldonitedtalk.
     51
          Justin Baldoni Talks “It Ends with Us” movie adaptation, CBS Mornings, (Aug. 7, 2024),
     https://www.cbsnews.com/video/justin-baldoni-talks-it-ends-with-us-movie-adaptation/.

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              Case 1:25-cv-00163-DAE            Document 21-2        Filed 04/25/25       Page 57 of 81



 1                (h)       “First of all, I want men to stop asking the question, why do women stay. I want
 2   men to take accountability. I want men to hold other men accountable.”52
 3
                  (i)       “[T]here’s never an excuse, no matter how much trauma a man has, there is never
 4
     an excuse to lay hands and hurt a woman, physically or emotionally. And we have to also understand that
 5
     the majority of domestic violence isn’t physical, these are, the scars are invisible, these are things that,
 6

 7   you know it’s emotional it’s gaslighting, it’s all of the various things that so many people experience.”53

 8                (j)       “I think we judge enough women and victims . . . but the real question is, why do

 9   we keep allowing men to harm . . .”54
10
                  184.      In sum, Mr. Baldoni has crafted a public image of himself as not just an ally, but
11
     also a fierce advocate for women. Contrary to this image, as set forth in detail above, Mr. Baldoni has
12
     spent the last several months and significant resources on his goal of wanting to “bury” and “destroy” Ms.
13
     Lively for raising concerns about his and his CEO’s harassing behavior and other disturbing conduct.
14

15        G. Ms. Lively, Her Family, and Her Businesses Have Suffered and Have Been Substantially
             Harmed By the Wayfarer Parties’ Conduct.
16
                  185.      While there was considerable online coverage of the Film and Ms. Lively leading
17
     up to the Film’s nationwide release in U.S. theaters on August 9, 2024, that coverage was mostly neutral.
18
     Some online discussions referenced an apparent “feud” between the cast members, but they included a
19
     smaller percentage of negative and positive mentions.
20
                  186.      Soon, however, Ms. Lively and her team became aware of an increase in negative
21
     media articles and social media coverage about her.
22

23

24

25

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27   52
        Id.
     53
         Justin Baldoni Reflects On Experience Of Directing & Acting In ‘It Ends With Us’, AccessDaily via
28   AccessHollywood (Dec. 5, 2024) https://www.accessonline.com/videos/justin-baldoni-reflects-on-experience-of-
     directing-acting-in-it-ends-with-us.
     54
         Id.

                                                           56
               Case 1:25-cv-00163-DAE                Document 21-2           Filed 04/25/25         Page 58 of 81



 1                  187.       The significant spike in the volume of negative sentiments toward Ms. Lively,
 2   included notable spikes on approximately August 8 and 14, 2024, and continued to trend mostly negative
 3
     for the remainder of 2024:
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12
                    188.       Indeed, as noted above, TAG itself noted a shift due to their efforts as early as
13

14   August 10, 2024.

15                  189.       As of that date, the sentiment towards Ms. Lively turned toxic, with a sudden

16   increase in negative comments—including hypersexual content and calls for Ms. Lively to “go fuck”
17
     herself.55
18
                    190.       Nearly decade-old interviews of Ms. Lively were surfaced, commenting on her
19
     tone, her posture, her diction, her language.56
20

21   55
        @pocketsara, X post, https://x.com/pocketsara/status/1824146308707291152, (Aug. 15, 2024) (“Blake Lively is a cunt”)
22   @imtotallynotmo1, X, Aug. 15, 2024 (“You’re a piece of shit, genuinely go fuck yourself”); FluffyPinkUnicornVII, Reddit
     post,      https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,
     (Aug. 14, 2024) (“Bottled blonde + long legs + fake tits - (brains, judgement, & humility) = Blake Lively”); KettlebellFetish
23
     Reddit                                                                                                                  post,
     https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,           (Aug.
24   14, 2024) (“Even with the nose job, she's such a butterface, great body, hair, but odd face and that body would be so easy to
     dress, just a dream body, and nothing fits right, odd clashing colors, just tacky.”); Creative_Ad9660, Reddit post,
25   https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,           (Aug.
     15, 2024) (“Boobs Legsly”); @chick36351, X post, (Aug. 16, 2024) (“Well Blake I a bitch.. She always has been, nice to see
26   people realize it now… Also WAY too much plastic surgery..”); @Martin275227838, X post,
     https://x.com/LizCrokin/status/1824618500431724917, (Aug. 17, 2024) (“@blakelively is a pedophile supporting bully . . .”);
27   @ZuperGoose, X post, (Aug. 17, 2024) (“Liz tag the bitch @blakelively Blake = pedo”); @myopinionmyfact, X post, (Aug.
     22, 2024) (“… @blakelively YOU ARE SUCH A BITCH! What a horrible rude bitch you are. I cannot believe somebody
28   fucked u, made a kid with u, married u and now has to be stuck with your bitch ass. OMG LMAO I would run!”).
     56
        Beth Shilliday, Blake Lively Taking a Social Media Break After Being Labeled a ‘Mean Girl’ Amid ‘It Ends With Us’
     Backlash, Yahoo Entertainment (Sept. 5, 2024, 8:04) https://www.yahoo.com/entertainment/blake-lively-taking-social-media-

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               Case 1:25-cv-00163-DAE                Document 21-2            Filed 04/25/25         Page 59 of 81



 1                  191.       Ms. Lively was criticized for how she was marketing the Film, she was repeatedly
 2   called a “bully,” a “mean girl,” and “controlling,” and was criticized for allegedly marginalizing Mr.
 3
     Baldoni, among many other things.57
 4
                    192.       Articles—which members of the TAG and Jonesworks team working on behalf of
 5
     Mr. Baldoni and Wayfarer credited themselves with influencing—dissected Ms. Lively and contemplated
 6

 7   her “cancellation.”58

 8                  193.       On information and belief, the Wayfarer team seeded social media content into

 9   publications with small audiences and lax editorial standards, and then fed those posts and/or articles to
10
     publications like Page Six, Newsweek, NY Post, TMZ, and BuzzFeed. These publications have larger
11
     audiences and greater reach, which significantly amplified the negative sentiment toward Ms. Lively.
12
     Content from low-influence sites was often linked or referenced in articles on these high-influence
13

14

15   120424507.html (discussing 2016 interview of Blake Lively by Kjersti Flaa in which B. Lively “snarked” at Ms. Flaa);
     Francesca Bacardi, Page Six, Blake Lively once snapped at reporter for asking about Penn Badgley romance: ‘I thought you
16   were supposed to be classy’ (Aug. 19, 2024, 12:02) https://pagesix.com/2024/08/19/entertainment/blake-lively-snapped-at-
     reporter-for-asking-about-penn-badgley/ (referring to 2008 interview); Gabi Duncan, Blake Lively called out again for
17   repeatedly using ‘problematic’ transgender slur in resurfaced interviews, Page Six, (Aug. 18, 2024, 10:27)
     https://pagesix.com/2024/08/18/entertainment/blake-lively-called-out-for-repeatedly-using-transgender-slur/ (discussing 2012
18   interview); Marina Urman, Blake Lively Under Fire Again For Using Transgender Slur In Multiple Resurfaced Interviews,
     BoredPanda, (Aug. 19, 2024, 7:21) https://www.aol.com/blake-lively-under-fire-again-142116217.html (discussing 2008,
19   2012, 2009, and 2016 interviews).
     57
        Jessica Green and Alanah Khosla, How Blake Lively keeps getting it wrong: Ryan Reynolds’ wife is criticised for glossing
20   over domestic violence during press for It Ends With Us amid ‘rift’ with director - and its just the latest in a string of
     controversies for the star, Dailymail.com (Aug. 15, 2024), https://www.dailymail.co.uk/femail/article-13742675/How-Blake-
21   Lively-keeps-getting-wrong-slammed-glossing-domestic-violence-Ends-Us.html; Perez Hilton, Blake Lively Was ‘Effortlessly
     Rude’ On It Ends With Us Set, Says Insider, But Justin Baldoni Was Problematic Too! (Aug. 19, 2024 )
22   https://perezhilton.com/blake-lively-effortlessly-rude-it-ends-with-us-set-justin-baldoni-problematic/ (“I got this impression
     from Justin that he was just really, really stressed and fatigued about this constant inability to control the project he was
     making… so much so that when you’d ask him questions, he’d be like, ‘Well just ask Blake’… because when Blake got there
23
     she would have a lot of really strong thoughts and feelings.”); Riley Cardoza , Jana Kramer reacts to Blake Lively’s domestic
     violence comments, insists ‘it does define you’, Page Six, (Aug. 26, 2024) https://pagesix.com/2024/08/26/celebrity-news/jana-
24   kramer-reacts-to-blake-livelys-dv-comments-it-does-define-you/ (“Lively, notably, has been slammed by social media users
     for marketing her Blake Brown haircare and Betty Buzz alcohol brand while promoting the movie.”); Kirsty Mccormack,
25   Meghan McCain slams ‘insensitive’ and ‘strange’ Blake Lively over It Ends With Us controversy: ‘I don’t understand why
     she’s famous’, DailyMail.com, (Aug. 22, 2024, 11:57) https://www.dailymail.co.uk/femail/article-13769327/meghan-mccain-
26   slams-blake-lively-strange-insensitive-ends-drama.html; Giovana Gelhorn, Blake Lively & Justin Baldoni’s Reported On-Set
     Clash      Shows      How        Their     Feud      Really      Began,     SHEKNOWS         (Aug.    15,     2024,     11:55)
27   https://www.sheknows.com/entertainment/articles/3082123/blake-lively-justin-baldoni-feud-beginnings/ (“[Lively] wasn’t
     engaged in the filming process and wanted to get out of shooting the moment she could.”); Laura Collins, The REAL reason
28   why Blake Lively and Justin Baldoni’s It Ends With Us feud has upended plans for sequel, DailyMail.com, (Aug. 22, 2024)
     https://www.dailymail.co.uk/tvshowbiz/article-13766111/Blake-Lively-Justin-Baldoni-feud-upends-sequel.html.
     58
        See also Alanah Kholsa & Jo Tweedy, supra n. 29.

                                                                  58
             Case 1:25-cv-00163-DAE           Document 21-2       Filed 04/25/25     Page 60 of 81



 1   platforms.
 2                194.     The “social manipulation” campaign engineered by Mr. Baldoni and Wayfarer
 3
     helped create and sustain a negative news cycle and social media algorithm around Ms. Lively.
 4
                  195.     The online narrative continues to trend more negatively as compared other weeks
 5
     and months prior to the social manipulation campaign, as reflected in the sentiment chart dating from the
 6

 7   publicity event on June 13, 2024, through to the present:

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                  196.     This was precisely the effect that the Baldoni-Wayfarer team hoped to achieve—
18
     they manipulated the social conversation to discredit and “bury” Ms. Lively in retaliation for reporting
19
     her concerns about harassing and unsafe conduct during the production of the Film, and in the hopes of
20

21   deterring Ms. Lively from potentially taking those same concerns public. This campaign has been

22   devasting to Ms. Lively, including by causing substantial harm to Ms. Lively, her family, as well as her

23   businesses and all the people who work at each of them.
24                197.     Unlike Wayfarer and Mr. Baldoni, Ms. Lively has been precluded from not only
25
     experiencing the success of the Film, but also from having the ability to engage further with her
26
     businesses, fans, and social media followers without immediately triggering an onslaught of hateful
27
     comments. Instead, Ms. Lively and her family have been forced to contend with a wide-reaching negative
28
     media campaign.

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             Case 1:25-cv-00163-DAE           Document 21-2         Filed 04/25/25    Page 61 of 81



 1               198.      When it became clear that this media blitz was the result of an intentionally seeded,
 2   cultivated and financed campaign against her, Ms. Lively began to experience mental, physical,
 3
     professional, and financial harms that continue to this day.
 4
                 199.      The effects on Ms. Lively’s professional life were immediate and substantial.
 5
     Given the ongoing nature of the campaign and the associated negative public sentiment, Ms. Lively did
 6

 7   not believe she could proceed with public appearances or events without being forced to openly discuss

 8   what happened on set. For example, Ms. Lively cancelled a critical Target corporate event for her

 9   haircare company, and she backed out of her scheduled role to host the premier episode of the 50th
10
     anniversary season of Saturday Night Live in September 2024.
11
                 200.      The retaliation campaign against Ms. Lively has damaged her companies as well.
12
     The long-planned launch of her haircare line, Blake Brown—a date which was set more than a year prior
13
     to the date selected (not by Ms. Lively) for the release of the Film—was caught up in the crossfires of
14

15   the negative environment against Ms. Lively. Initially, before the “social manipulation” campaign

16   started, Ms. Lively was informed that Blake Brown was Target’s largest haircare launch on record. Based

17   on internal sales projections, the sudden and unexpected negative media campaign launched against Ms.
18
     Lively depressed retail sales of Blake Brown products by 56%–78%. This dramatic drop was completely
19
     at odds with the high satisfaction scores that Blake Brown products received in the significant consumer
20
     testing performed before launch or its initial success after launch.
21
                 201.      Around the same time, the social media accounts for Ms. Lively’s brands—
22

23   including Betty Buzz and Betty Booze—were flooded by hateful comments, which began to echo through

24   other social and traditional media outlets. On information and belief, the astroturfing campaign was
25   responsible for this wave of comments. None of Ms. Lively’s businesses could operate as they ordinarily
26
     had before; instead, the Baldoni-Wayfarer astroturfing campaign forced each of Ms. Lively’s businesses
27
     to go “dark” on social media in August. Ms. Lively did the same, for nearly two months, and during this
28
     time was unable to market or promote any of her businesses, all of which rely on her support, causing

                                                         60
               Case 1:25-cv-00163-DAE                Document 21-2            Filed 04/25/25         Page 62 of 81



 1    issues with many business partners and customers. Moreover, when Ms. Lively limited comments on
 2    her personal Instagram account to limit the toxic harassment she was receiving, those users simply
 3
      migrated to the social media accounts and websites of Blake Brown, Betty Buzz, and Betty Booze.59
 4
      Many of the negative comments on these businesses’ social media accounts and websites had nothing to
 5
      do with the products or brands, but instead referenced the Film, Mr. Baldoni, and/or Ms. Lively as a
 6

 7    “bully” or “mean girl.”

 8                  202.        The emotional impact on Ms. Lively has been extreme, not only affecting her, but

 9    her family, including her husband and four children. There are days when she has struggled to get out of
10
      bed, and she frequently chooses not to venture outside in public. While she has fought to maintain her
11
      personal life and business interests, behind closed doors she has suffered from grief, fear, trauma, and
12
      extreme anxiety. She also has been experiencing repeated and painful physical symptoms as a result of
13
      this experience. Mr. Reynolds, too, has been affected mentally, physically, and professionally by his wife
14

15    and children’s pain. Worst of all, however, has been the impact on their young children, who have been

16    traumatized and emotionally uprooted in ways that have substantially impacted their well-being.

17                  203.        These are but a few examples of the substantial harm caused by this malicious
18
      campaign, which pervaded, and continues to pervade, all aspects of Ms. Lively’s life. Ms. Lively never
19
      sought out conflict with Wayfarer, Ms. Baldoni, or Mr. Heath, but instead consistently attempted to speak
20
      up for a safe and respectful workplace privately in the hopes of protecting herself, as well as the cast and
21
      crew, without jeopardizing a Film that she believed could make a difference in peoples’ lives. In
22

23    response, Mr. Baldoni, Mr. Heath, and those working for them, sought to destroy Ms. Lively and anyone

24

25
     59
       Therese AK, TikTok, https://vm.tiktok.com/ZGeTkjarm/ (Aug. 26, 2024) (“Well now I know what NOT to buy, thank you.”);
26   @catherinaartdesign, Blake Brown Beauty Instagram comment, (Aug. 30, 2024) (“Be ashamed! A great opportunity was
     missed to share a great message through the film where it would have made a big difference in many lives. Now remember
27   ‘she will make up a story where she is the victim so that others feel empathy for her’”); @santerialily, Blake Brown Instagram
     comment, (Aug. 26, 2024) (“Nobody is going to buy this crap now. Good job in ruining your brand before it even started.
28   Nasty mean girls never prosper.”); @hollingsworth1830, Blake Brown Instagram comment, (Sept. 5, 2024) (“Ah, no thanks.
     Why would anyone buy your beauty products? More overpriced junk by a vapid and narcissitic [sic] celebrity. I would rather
     spend my money with someone who can actually care about women. Take this crap and your florals and sit on it.”).

                                                                  61
             Case 1:25-cv-00163-DAE           Document 21-2         Filed 04/25/25      Page 63 of 81



 1   else who knew the truth. Ms. Lively’s discovery of the full extent of the retaliatory campaign launched
 2   by the Wayfarer Parties has left her with no choice. Through this Complaint, Ms. Lively seeks to set the
 3
     record straight, to hold the Wayfarer Parties and Associates accountable, and to shine a light on this new
 4
     form of retaliation so that it will not be used against any others who seek to stand up and speak out against
 5
     sexual harassment.
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Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 64 of 81




            Exhibit A
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 65 of 81
     Case 1:25-cv-00163-DAE          Document 21-2        Filed 04/25/25      Page 66 of 81




                                 Protections for Return to Production

In order for Blake Lively (BL) to be able to return to production on the Film, each of the
following protections must be agreed to in writing and met without fail going forward:

       1.      An intimacy coordinator must be present at all times when BL is on set.

       2.      There must be a closed set during the rehearsal or filming of any scene involving
               simulated sex or nudity and any observation via remote monitors shall be restricted
               to essential personnel as approved by BL (to be further described in a fully-
               negotiated, fully-executed, SAG-compliant nudity rider (“Nudity Rider”)).

       3.      There is to be no spontaneous improvising of any scenes involving physical
               touching, simulated sex, or nudity. Scenes involving kissing, depictions of sexual
               intercourse, or any other physical touching must be contained in the screenplay (as
               approved by BL), choreographed in advance in the presence of the intimacy
               coordinator, and may only proceed as choreographed with the consent of all
               participants in advance.

       4.      Physical touching and/or comments on BL’s physical appearance must only be
               done/made in connection with the character and scene work, not as to BL
               personally. Except as written into the screenplay or as strictly required in
               connection with make-up or costume preparation, there is to be no physical
               touching (including hugging) of BL, her on-set personnel and/or her employees.

       5.      There are to be no discussions of personal experiences with sex or nudity, including
               as it relates to conduct with spouses or others.

       6.      No one will enter, attempt to enter, interrupt, pressure, or request entrance to BL’s
               trailer while she is in a state of undress for any reason.

       7.      There shall be no rehearsal or filming of any nudity and/or simulated sex without
               the Nudity Rider in place. Any such footage previously shot without the Nudity
               Rider in place, and in direct violation of SAG requirements, may not be used
               without BL’s and her legal representatives’ prior, written consent.

       8.      BL may have a representative of her choosing present with her on set for the
               remainder of the rehearsal and shooting days, including while on a closed set.

       9.      If BL is exposed to COVID-19, she must be provided notice as soon as possible
               after Wayfarer or any producer or production executive becomes aware of such
               exposure.

       10.     There shall be no retaliation of any kind against BL for raising concerns about the
               conduct described in this letter or for these requirements. Any changes in attitude,
               sarcasm, marginalization or other negative behavior, either on set or otherwise,
               including during publicity and promotional work, as a result of these requests is
               retaliatory and unacceptable, and will be met with immediate action.
Case 1:25-cv-00163-DAE       Document 21-2        Filed 04/25/25      Page 67 of 81




 11.   Sony must have a mutually-approved representative on set for the remainder of the
       rehearsal and shooting days, including on a closed set, to actively supervise the
       production, including monitoring the safety of the cast and crew, ensuring
       compliance with the schedule and overseeing logistics, problem solving and
       creative issues.

 12.   Wayfarer will engage an additional, experienced A-level producer, approved by
       Ms. Lively, to actively supervise the production, including monitoring the safety of
       the cast and crew, ensuring compliance with the schedule and overseeing logistics,
       problem solving and creative issues.

 13.   Wayfarer must empower any existing third party producer with appropriate and
       customary authority to actively supervise the production, including monitoring the
       safety of the cast and crew, ensuring compliance with the schedule and overseeing
       logistics, problem solving and creative issues.

 14.   Wayfarer will engage an A-list stunt double, approved by Ms. Lively, to rehearse
       and perform any scenes involving the character “Lily” that depicts rape or any act
       of sexual violence. Ms. Lively will only perform close-up work or other pre-
       approved shots for such scenes.

 15.   Any rehearsal or shooting involving Ms. Lively, or any other performer depicting
       the character of “Lily,” that involves nudity (including partial nudity) or simulated
       sex must be conducted strictly in accordance with the Nudity Rider and must adhere
       to the approved script.

 16.   Any and all day players must be engaged through customary industry talent
       agencies and not through personal connections of the director and/or producer.

 17.   Hold an all-hands, in-person meeting before production resumes which will include
       the director, all producers, the Sony representative, the newly-engaged third party
       producer, BL and BL’s designated representatives to confirm and approve a plan
       for implementation of the above that will be adhered to for the physical and
       emotional safety of BL, her employees and all the cast and crew moving forward.
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 68 of 81




            Exhibit B
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 69 of 81
DocuSign Envelope ID: 6539DC18-33E6-4808-8788-A040AC923718
                  Case 1:25-cv-00163-DAE               Document 21-2            Filed 04/25/25        Page 70 of 81



                     6.       No one will enter, attempt to enter, interrupt, pressure, or request entrance to Artist’s trailer
                              while she is in a state of undress for any reason.

                     7.       There shall be no rehearsal or filming of Artist (including Artist’s approved body double)
                              of any nudity, partial nudity and/or simulated sex except as expressly permitted in
                              accordance with the Nudity Rider. Any such footage of Artist (or Artist’s body double)
                              previously shot without the Nudity Rider in place may not be used without Artist’s and her
                              legal representatives’ prior, written consent.

                     8.       Artist may have a representative of her choosing present with her on set for the remainder
                              of the rehearsal and shooting days, including while on a closed set.

                     9.       If Artist is exposed to COVID-19, she must be provided notice as soon as possible after
                              Wayfarer or any producer or production executive becomes aware of such exposure.

                     10.      There shall be no retaliation of any kind against Artist for raising concerns about the
                              conduct described in this letter or for these requirements. Any changes in attitude, sarcasm,
                              marginalization or other negative behavior, either on set or otherwise, including during
                              publicity and promotional work, as a result of these requests is retaliatory and unacceptable,
                              and will be met with immediate action.

                     11.      Except as otherwise agreed by Artist, while Artist is on set, Sony must have a mutually-
                              approved representative (Ange Giannetti is hereby approved) on set for the remainder of
                              the rehearsal and shooting days, including on a closed set, to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues.

                     12.      Wayfarer will engage an additional, experienced A-level producer, approved by Artist
                              (Todd Black is hereby approved) (the “Approved Producer”), to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues provided that
                              Company shall have the right to approve the agreement with the Approved Producer.

                     13.      Wayfarer must empower any existing third party producer with appropriate and customary
                              authority to actively supervise the production, including monitoring the safety of the cast
                              and crew, ensuring compliance with the schedule and overseeing logistics, problem solving
                              and creative issues.

                     14.      Wayfarer will engage an A-list stunt double, approved by Artist (Lauren Shaw approved
                              as stunt double), to rehearse and perform any scenes involving the character “Lily” that
                              depicts rape or any act of sexual violence. Artist will only perform close-up work or other
                              pre-approved shots for such scenes. In addition, Wayfarer to engage Artist-approved body
                              doubles for both characters (i.e., “Lily” and “Ryle”) for all simulated sex scenes (Cole
                              Mason approved as body double for “Ryle”). Wayfarer will use reasonable good faith
                              commercial efforts to engage the same Artist-approved individual as Artist’s body double
                              and stunt double.

                     15.      Any rehearsal or shooting involving Artist, or any other performer depicting the character
                              of “Lily,” that involves nudity (including partial nudity) or simulated sex must be
                              conducted strictly in accordance with the Nudity Rider and must adhere to the final, Artist-
                              approved script. For the avoidance of doubt, there will be no use of footage in the Picture




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Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 71 of 81
DocuSign Envelope ID: 6539DC18-33E6-4808-8788-A040AC923718
                  Case 1:25-cv-00163-DAE               Document 21-2        Filed 04/25/25   Page 72 of 81



                                                              Schedule I
                                                             Nudity Rider




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Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 73 of 81
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 74 of 81




            Exhibit C
          Case 1:25-cv-00163-DAE               Document 21-2         Filed 04/25/25       Page 75 of 81




                                                  IT ENDS WITH US
                                                         August 9, 2024

                                                       (UPDATED 7/29/24)

LOGLINE
IT ENDS WITH US, the first Colleen Hoover novel adapted for the big screen, tells the compelling story of Lily
Bloom (Blake Lively), a woman who overcomes a traumatic childhood to embark on a new life in Boston and
chase a lifelong dream of opening her own business. A chance meeting with charming neurosurgeon Ryle Kincaid
(Justin Baldoni) sparks an intense connection, but as the two fall deeply in love, Lily begins to see sides of Ryle
that remind her of her parents’ relationship. When Lily’s first love, Atlas Corrigan (Brandon Sklenar), suddenly
reenters her life, her relationship with Ryle is upended, and Lily realizes she must learn to rely on her own
strength to make an impossible choice for her future.

Directed by Justin Baldoni and produced by Alex Saks, Jamey Heath, Blake Lively and Christy Hall. The film stars
Blake Lively, Justin Baldoni, Jenny Slate, Hasan Minhaj, Amy Morton and Brandon Sklenar, from a screenplay by
Christy Hall, based on the book by Colleen Hoover.

POSITIONING
Blake Lively and Justin Baldoni are starring in the film adaptation of Colleen Hoover’s highest-selling novel It Ends
With Us.

This is the first film of the Colleen Hoover phenomena to be adapted for the big screen. She is also executive
producing.

Justin Baldoni is also directing and executive producing.

As well as starring, Blake Lively is also producing.

Brandon Sklenar is perfectly cast as the charismatic Atlas who brings an impressive emotional depth to the role,
along with Jenny Slate and Hasan Minhaj, who both bring compassion and humor to the film.

Teen versions of Atlas and Lily are played by up-and-coming actors Alex Neustaedter and Isabela Ferrer, who
deliver exceptional performances.

IT ENDS WITH US is a big, emotional, complicated story about breaking free from the past and empowering
yourself and your future. The character of Lily Bloom has resonated with so many readers because her journey is
relatable – her story isn’t black and white. She has to make hard decisions that have lasting consequences.

This is a story about Lily’s journey from leaving a small town, moving to Boston and embarking on a whole new
life. She leaves behind a complicated childhood and in doing so discovers her own resilience and strength,
empowering her to stand up to adversity.

This movie has every emotion – joy, sadness, pain, and hope.
          Case 1:25-cv-00163-DAE              Document 21-2           Filed 04/25/25        Page 76 of 81



After growing up in a home where Lily witnessed her mother being abused by her father and vowing never to be
in that position, she enters a relationship with Ryle and unwittingly finds herself following the same footsteps as
her mother. Through this journey, Lily must learn to stand up for herself and that true strength lies within.

The book connected with millions of readers and became a rare phenomenon in the publishing world – everyone
knows someone who has read this book.

Whether you have read the book or not, this is the perfect movie to see with your friends or anyone in your
support system. Women all rely on their sisters, mothers, girlfriends etc for support as they navigate the ups and
downs of life and so this is the perfect film to share the experience with those in their support network.

After becoming a “BookTok” cultural phenomenon with over 2 billion views on her TikTok hashtag, Colleen
Hoover is currently the best-selling novelist in the US with over 25 million books sold by the end of 2023. Hoover
wrote five of the top 10 best-selling print books of any genre in 2022.

Published in 43 foreign languages, It Ends With Us was the top selling print book of 2022, has been on the New
York Times Best Seller List for over 135 weeks by the end of 2023.

WHAT TO AVOID
Focus more on Lily’s strength and resilience as opposed to describing the film as a story about domestic violence.
Empowerment is not just about standing up to adversity, but also about having the power to overcome within
oneself and grow from it and developing agency to shape the future.

Avoid describing the film as a love story or love triangle – it’s the story of Lily learning how to take agency of her
future.

Avoid talking about this film that makes it feel sad or heavy – it’s a story of hope.

Avoid talking about the film being representative of every woman’s story. There are many stories of domestic
violence, and this is just one perspective that is inspired by Colleen Hoover’s own experiences growing up.

ONLY IF ASKED
Any questions about the story not being an authentic representation of domestic violence:
This is just one perspective that is inspired by Colleen Hoover’s own deeply personal story of growing up in Texas.

Any questions about the lack of diversity in the cast:
We have such a wonderful cast who all bring something unique in telling this powerful story of one woman
learning to take agency over her future. I’m so proud to be part of an incredible group of women who have to
make this film that is inspired by Colleen Hoover’s own deeply personal story.
Case 1:25-cv-00163-DAE   Document 21-2   Filed 04/25/25   Page 77 of 81




            Exhibit D
     Case 1:25-cv-00163-DAE             Document 21-2          Filed 04/25/25       Page 78 of 81
                                           **CONFIDENTIAL**

                                SCENARIO PLANNING – IT ENDS WITH US

OBJECTIVE

Protect the reputation of Justin Baldoni, Jamey Heath, and Wayfarer Studios in the lead up, during,
and following the premiere of It Ends with Us, underscore the achievement and efforts of the
Wayfarer team in bringing this movie to life, and emphasize Justin and the studio’s commitment to
their team and making the broader industry a more inclusive space.

OVERVIEW

Though there are several potential scenarios at play here which we should be prepared for, should
BL and her team make her grievances public – via a blatant story or subtle leak. Given she was made
to compromise with the premiere, we feel she will move forward with doing so.

Our recommendation is to get ahead of this narrative, owning any misconceptions and addressing
them head on. Ultimately, we need to be ready to take the air out of any story that does arise, as
well as commentary and/or background narrative BL and her team put together, without being the
louder antagonizer.

The TAG team will continue to media monitor, flag, and respond to any media proactively reaching
out / reporting on the issue and will send regular reports on existing chatter that may arise.
Additionally, our team’s digital experts will continue to monitor and flag any online content related
to the crisis and/or mitigate if false narratives begin in the digital space.

Crisis Mitigation and Rapid Response

    ●   Our team will establish a “rapid response” communication system which keeps Justin,
        Jamey, and Wayfarer Studios abreast of new coverage and narrative trends in real time,
        both in traditional media and social media.
    ●   Alongside Jen Abel and her team, we will manage media inquiries regarding the news on
        background as “sources familiar.”
    ●   Working with legal as appropriate, we will provide information to ensure our narrative is
        properly represented in any and all coverage.
    ●   TAG will confirm outlets intending on covering the story, especially those impactful to Justin,
        Jamey, and Wayfarer’s interests, are fully briefed on the situation including and not limited
        to The Hollywood Reporter, Variety, Deadline, The Wrap, New York Post, Daily Mail, etc.
    ●   We will run real-time media monitoring reports with multiple daily updates on any coverage
        that arises and impact that the PR teams have had on stories.
    ●   Further, we will produce daily sentiment reports which capture the reach and attitude of
        opinions online related to the issue and towards Justin, Jamey, and Wayfarer. These reports
        will also qualify the level of impact these stories have and the gradual decrease in interest
        post-crisis on this narrative.

Preparation Materials:

    ●   Our team will develop clean, topline messaging outlining the facts in conjunction with Jen
        Abel and her team.
    ●   Our team and Wayfarer Studios will discern what assets pertaining to communications,
        schedules, times when BL called out, etc. that we can share for off record and/or for context

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     Case 1:25-cv-00163-DAE              Document 21-2          Filed 04/25/25         Page 79 of 81
       purposes with journalists.
   ●   Our team and Wayfarer Studios, alongside Jen Abel and team, will catalog third party
       advocates willing to provide a potential quote or engage with reporters on Justin and
       Jamey’s behalf to mitigate negative narratives from a source outside of Wayfarer.
   ●   Our team will collate a list of people who have publicly discussed their positive working
       experience with Justin – examples include Brandon Skylnar / Forbes, Colleen Hoover /
       Entertainment Weekly, etc.

Key Messaging Points:

   ●   JB’s stellar reputation among colleagues and industry peers - numerous quotes and
       interviews sharing positive experiences.
   ●   JB has been a longtime activist and advocate of and for women in Hollywood, speaking out
       about challenges his colleagues faced before the Me Too movement even began (TED 2017).
   ●   The “Man Enough” podcast has been a source of inspiration since it began, fostering a safe,
       encouraging environment for a range of perspectives to meet and discuss gender roles and
       how their rigidity affects everyone.
   ●   While JB and JH attempted to foster a kind, safe, creative environment on set during a
       challenging period in Hollywood – resurgence of COVID-19, the writers strike, the SAG
       AFTRA strike – their efforts were continuously thrown back in their faces.
   ●   Production members lost their jobs due to BL’s takeover and insisted upon involvement –
       including loss of budget due to rescheduling shoot days when BL refused to show up.
   ●   When BL wasn’t able to get her way on set or behind the scenes, she involved her husband
       to create an iImbalance of power between her and JB. RR went so far as to use his power to
       call agents and agencies, Sony, and other key players so that BL would get her way.
   ●   BL’s less than favorable reputation in the industry spans decades and has been reported –
       there were issues on Gossip Girl, the Town, A Simple Favor, and more.
   ●   There is a clear, likely motive due to the film’s value and fanbase, in which BL is attempting
       to bully her way into buying the rights for It Starts With Us.
   ●   Our team will also include additional positive stats re: JB’s career, his accolades, his
       inspiration to take on this project, obstacles he overcame, what’s in store, etc.

IF/THEN PLAN OF ACTION:

Scenario 1: Blake and team push out negative story re: Justin / Wayfarer post-premiere

   ●   Depending upon the scope of her push, we recommend planting a seed earlier on to position
       your truth / narrative around the ordeal in a subtle way to avoid having to backtrack.
   ●   An idea for this, and working alongside Jen, is giving a friendly reporter who is covering the film
       a simple line hinting that while you and Blake didn’t always agree at times “had our differences”
       you have respect for her. This way, if BL stories are softer, we don’t look so aggressive. If it’s a hit
       piece, then we’ve tee’d up reporters properly that there were issues with her. We would also
       ensure the story is broader, about the film, inspiration, etc. so that the line is one part of a larger
       piece.
   ●   If her team is working on a longer lead, negative narrative, we would be given (a short) heads up
       in advance of the story and would, alongside Jen, correct inaccuracies in fact checking, mitigate
       false narratives, and point reporters toward third party advocates who can speak positively on
       your behalf.
   ●   We would then brief people with a more robust version of the facts, executing a background
       approach, using third party advocates, and off record conversations with trusted friendlies to
       depict the truth of the situation. Targets would include popular industry newsletters (targeting
       industry peers, studio execs, investors, etc.) and social media (targeting JB’s fanbase and those of

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     Case 1:25-cv-00163-DAE             Document 21-2          Filed 04/25/25       Page 80 of 81
        the novel/film) as well as trades / mainstream entertainment. Background information would
        include:
            ○ Background briefing would clarify any misconceptions, what was taken out of context,
                 and what can be chalked up to simple misunderstanding or miscommunication.
            ○ Background briefing would highlight JB, JH, and Wayfarer’s side of the story, what their
                 truth is as it pertains to any allegations or negativity, facts based on the timeline, and
                 issues they experienced on their end e.g. lost days of shooting, consistently adhering to
                 demands, etc.
            ○ Background briefing would include the fact that production members lost their jobs due
                 to her involvement / takeover.
            ○ Background briefing would include the numerous articles, interviews, and quotes of past
                 colleagues who openly love working with Justin, and pointing to BL’s less than favorable
                 reputation of her twenty-year career.
            ○ Background briefing would include pointing people to positive commentary, quotes,
                 interviews from colleagues and peers of Justin praising his work, etc.

Scenario 2: Blake subtly hints at her “experience” in post-premiere coverage, either in an interview, op
ed, or otherwise.

    ●   Our prediction is that should BL address her “experience” on set in upcoming press, she will not
        name you directly but rather pepper in “easter eggs” alluding to your involvement, being
        mindful not to completely jeopardize her potential involvement with the film’s sequel, while still
        planting seeds of doubt and speculation – especially amongst the passionate fan base.
    ●   BL and her team have already begun to plant seeds around this, in insisting promotion be kept
        separate. Fans have already begun to speculate on socials that something is amiss.
    ●   These pieces will likely come out following any potential hit piece and/or coverage from the
        premiere. Our recommended approach would be to provide reporters who reach out for
        comment, should it be obvious she’s referring to you, with the appropriate background
        information (listed in Scenario 1) to ensure their stories are balanced and the speculation can be
        turned to another one of the many people she’s had issues working with (Leighton Meester,
        Anna Kendrick, Ben Affleck, etc.).
    ●   Additionally, we would advise taking further ownership of this narrative as an emerging director,
        lessons learned managing different egos, being the subject to an imbalance of power and/or
        navigating Hollywood, remaining dedicated throughout more challenging processes to protect
        the crew and production members, etc. – remaining strong but not specific or combative.
    ●   This messaging can be woven into more positive press about the film, placed by Jen and team,
        so that you stay on the high road while sharing your truth in a respectful way. A subtle way to do
        this is to address some of the issues you faced on your podcast, and open the floor to discuss
        ways in which imbalances of Hollywood still need to be addressed, how teams can create safe
        environments for all cast and production members on set, etc.

Scenario 3: Ryan comes forward in defense of his wife

    ●   Should Ryan come forward in defense of his wife, we would advise against any direct
        engagement, statement, etc.
    ●   Inquiring reporters, and those in need of updating, would be given a pre-approved line of
        background, attributed to source, implying his lack of connection or involvement with the
        making of the film and that this is another imbalance of power and attempt to strongarm
        production by major A-list stars.
    ●   Our team would also suggest (and will work with Jen Abel and her team on this) placing
        proactive interviews for Justin around the movie’s debut, to speak to his experiences directing,
        what it’s like to produce, direct and star in a movie, the difference between being in charge and

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Case 1:25-cv-00163-DAE              Document 21-2         Filed 04/25/25        Page 81 of 81
    being one of the cast, “lessons learned” from his experience as a director on this film and others,
    and what’s to come in the IEWU universe.
●   This will get ahead of any potential negative news placed by BL and/or her team, and seed doubt
    should BL or RR come forward with negative messaging.
●   As part of this, our team can also explore planting stories about the weaponization of feminism
    and how people in BL’s circle like Taylor Swift, have been accused of utilizing these tactics to
    “bully” into getting what they want.




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